                Case 24-12480-LSS              Doc 1190         Filed 03/27/25          Page 1 of 22




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                     Chapter 11

    FRANCHISE GROUP, INC., et al.,1                            Case No. 24-12480 (LSS)

                                 Debtors.                      (Jointly Administered)



                                          AFFIDAVIT OF SERVICE

       I, Nelson Crespin, depose and say that I am employed by Kroll Restructuring
Administration LLC (“Kroll”), the claims and noticing agent for the Debtors in the above-
captioned chapter 11 cases.

        On March 14, 2025, at my direction and under my supervision, employees of Kroll
caused the following documents to be served by the method set forth on the Core/2002 Service
List attached hereto as Exhibit A:

     x   Supplemental Declaration of Bradley Vineyard in Connection with the Application of
         Debtors for Entry of an Order Authorizing the Retention and Employment of Deloitte &
         Touche LLP as Independent Auditor Effective as of the Petition Date [Docket No. 1113]




1
  The Debtors in these chapter 11 cases, along with the last four digits of their U.S. federal tax identification numbers,
to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225), Freedom VCM
Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables, Inc. (0028),
Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC (0444),
American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group Intermediate
Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco Intermediate AF, LLC
(8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271), American Freight, LLC
(5940), American Freight Management Company, LLC (1215), Franchise Group Intermediate S, LLC (5408),
Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353), Home & Appliance Outlet, LLC
(n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor, LLC (2123), Franchise Group
Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising and Licensing LLC (9968),
Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC (9746), Franchise Group Intermediate
BHF, LLC (8260), Franchise Group Newco BHF, LLC (4123), Valor Acquisition, LLC (3490), Vitamin Shoppe
Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC (6298), Vitamin Shoppe
Procurement Services, LLC (8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin Shoppe Florida, LLC (6590),
Betancourt Sports Nutrition, LLC (0470), Franchise Group Intermediate PSP, LLC (5965), Franchise Group Newco
PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service
Newco, LLC (6414), WNW Franchising, LLC (9398), WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP
Franchising, LLC (4978), PSP Subco, LLC (6489), PSP Distribution, LLC (5242), Franchise Group Intermediate SL,
LLC (2695), Franchise Group Newco SL, LLC (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located
at 2371 Liberty Way, Virginia Beach, Virginia 23456.
            Case 24-12480-LSS        Doc 1190     Filed 03/27/25    Page 2 of 22




       On March 14, 2025, at my direction and under my supervision, employees of Kroll
caused the following document to be served by the method set forth on the Fee Application
Service List attached hereto as Exhibit B:

   x   First Combined Monthly Fee Statement of Deloitte & Touche LLP for Compensation for
       Services Rendered as Independent Auditor to the Debtors and Reimbursement of
       Expenses Incurred for the Period from November 3, 2024 through December 31, 2024
       [Docket No. 1100]

   x   Monthly Staffing and Compensation Report of AP Services, LLC for the Period from
       January 1, 2025 through January 31, 2025 [Docket No. 1101]

       On March 14, 2025, at my direction and under my supervision, employees of Kroll
caused the following document to be served by the method set forth on the Ordinary Course
Professionals Service List attached hereto as Exhibit C:

   x   Notice of Filing of the Ordinary Course Professional Declaration of Kalis, Kleiman &
       Wolfe [Docket No. 1112]

Dated: March 24, 2025
                                                                 /s/ Nelson Crespin
                                                                   Nelson Crespin
State of New York
County of New York

Subscribed and sworn (or affirmed) to me on March 24, 2025, by Nelson Crespin, proved to me
on the bases of satisfactory evidence to be the person who executed this affidavit.

/s/ OLEG BITMAN
Notary Public, State of New York
No. 01BI6339574
Qualified in New York County
Commission Expires April 4, 2028




                                              2                                       SRF 86866
Case 24-12480-LSS   Doc 1190   Filed 03/27/25   Page 3 of 22




                       Exhibit A
                                                                      Case 24-12480-LSS                      Doc 1190               Filed 03/27/25             Page 4 of 22
                                                                                                                     ǆŚŝďŝƚ
                                                                                                                ŽƌĞͬϮϬϬϮ^ĞƌǀŝĐĞ>ŝƐƚ
                                                                                                               ^ĞƌǀĞĚĂƐƐĞƚĨŽƌƚŚďĞůŽǁ

                                   ^Z/Wd/KE                                               ED                                          Z^^                                            D/>      Dd,KK&^Zs/

                                                                                                               ƚƚŶ͗DĂƌƚǇ>͘ƌŝŵŵĂŐĞ͕:ƌ͘
ŽƵŶƐĞůƚŽDŝĐŚĂĞů:͘tĂƌƚĞůůĂƐƚŚĞ/ŶĚĞƉĞŶĚĞŶƚŝƌĞĐƚŽƌĂŶĚƐŽůĞ                                            ϮϯϬϬE͘&ŝĞůĚ^ƚƌĞĞƚ
ŵĞŵďĞƌŽĨƚŚĞŽŶĨůŝĐƚƐŽŵŵŝƚƚĞĞŽĨƚŚĞŽĂƌĚŽĨĞĂĐŚŽĨƚŚĞ                                                 ^ƵŝƚĞϭϴϬϬ
ZĞƚĂŝŶŝŶŐĞďƚŽƌƐ                                                      ŬŝŶ'ƵŵƉ^ƚƌĂƵƐƐ,ĂƵĞƌΘ&ĞůĚ>>W     ĂůůĂƐdyϳϱϮϬϭ                                           ŵ
                                                                                                                                                                          ďƌŝŵŵĂŐĞΛĂŬŝŶŐƵŵƉ͘ĐŽŵ       ŵĂŝů

ŽƵŶƐĞůƚŽDŝĐŚĂĞů:͘tĂƌƚĞůůĂƐƚŚĞ/ŶĚĞƉĞŶĚĞŶƚŝƌĞĐƚŽƌĂŶĚƐŽůĞ                                            ƚƚŶ͗DŝĐŚĂĞů^͘^ƚĂŵĞƌ͕ƌĂĚD͘<ĂŚŶ͕ǀŝ͘>ƵĨ         ŵƐƚĂŵĞƌΛĂŬŝŶŐƵŵƉ͘ĐŽŵ
ŵĞŵďĞƌŽĨƚŚĞŽŶĨůŝĐƚƐŽŵŵŝƚƚĞĞŽĨƚŚĞŽĂƌĚŽĨĞĂĐŚŽĨƚŚĞ                                                 KŶĞƌǇĂŶƚWĂƌŬ                                           ďŬĂŚŶΛĂŬŝŶŐƵŵƉ͘ĐŽŵ
ZĞƚĂŝŶŝŶŐĞďƚŽƌƐ                                                      ŬŝŶ'ƵŵƉ^ƚƌĂƵƐƐ,ĂƵĞƌΘ&ĞůĚ>>W     EĞǁzŽƌŬEzϭϬϬϯϲ                                         ĂůƵĨƚΛĂŬŝŶŐƵŵƉ͘ĐŽŵ            ŵĂŝů

ŽƵŶƐĞůƚŽDŝĐŚĂĞů:͘tĂƌƚĞůůĂƐƚŚĞ/ŶĚĞƉĞŶĚĞŶƚŝƌĞĐƚŽƌĂŶĚƐŽůĞ                                            ƚƚŶ͗DŝĐŚĂĞů͘ĞĂĞĐŬĞ
ŵĞŵďĞƌŽĨƚŚĞŽŶĨůŝĐƚƐŽŵŵŝƚƚĞĞŽĨƚŚĞŽĂƌĚŽĨĞĂĐŚŽĨƚŚĞ                                                 ϱϬϬĞůĂǁĂƌĞǀĞŶƵĞ͕ϴƚŚ&ůŽŽƌ
ZĞƚĂŝŶŝŶŐĞďƚŽƌƐ                                                      ƐŚďǇΘ'ĞĚĚĞƐ͕W͘͘                   tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                       ŵ
                                                                                                                                                                          ĚĞďĂĞĐŬĞΛĂƐŚďǇŐĞĚĚĞƐ͘ĐŽŵ    ŵĂŝů

                                                                                                               ƚƚŶ͗DĂƚƚŚĞǁW͘ƵƐƚƌŝĂ
                                                                                                               ϭϬϬϳE͘KƌĂŶŐĞ^ƚƌĞĞƚ͕ϰƚŚ&ůŽŽƌ
ŽƵŶƐĞůĨŽƌĞůů&ŝŶĂŶĐŝĂů^ĞƌǀŝĐĞƐ͕>͘>͘͘                             ƵƐƚƌŝĂ>ĞŐĂů͕>>                     tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                       ŵ
                                                                                                                                                                          ĂƵƐƚƌŝĂΛĂƵƐƚƌŝĂůůĐ͘ĐŽŵ      ŵĂŝů

                                                                                                               ƚƚŶ͗>ĞƐůŝĞ͘,ĞŝůŵĂŶ͕>ĂƵƌĞů͘ZŽŐůĞŶ͕DĂƌŐĂƌĞƚ͘
                                                                                                               sĞƐƉĞƌ
ŽƵŶƐĞůƚŽǌĂůĞĂ:ŽŝŶƚsĞŶƚƵƌĞ͕>>͕ƌŝǆŵŽƌKƉĞƌĂƚŝŶŐWĂƌƚŶĞƌƐŚŝƉ>W͕                                       ϵϭϵEŽƌƚŚDĂƌŬĞƚ^ƚƌĞĞƚ                                   ŚĞŝůŵĂŶůΛďĂůůĂƌĚƐƉĂŚƌ͘ĐŽŵ
ŽŶƚŝŶĞŶƚĂůZĞĂůƚǇŽƌƉŽƌĂƚŝŽŶ͕&ĞĚĞƌĂůZĞĂůƚǇKW>W͕&Z'ƌŽƐƐŵŽŶƚ͕                                           ϭϭƚŚ&ůŽŽƌ                                                ƌŽŐůĞŶůΛďĂůůĂƌĚƐƉĂŚƌ͘ĐŽŵ
>>͕WƌŝŵĞͬ&Z/dDŝƐƐŝŽŶ,ŝůůƐ͕>>͕ĂŶĚ^ŚŽƉKŶĞĞŶƚĞƌƐZ/d͕/ŶĐ͘       ĂůůĂƌĚ^ƉĂŚƌ>>W                     tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                       ǀĞƐƉĞƌŵΛďĂůůĂƌĚƐƉĂŚƌ͘ĐŽŵ     ŵĂŝů

ŽƵŶƐĞůƚŽĞŶĞŶƐŽŶĂƉŝƚĂůWĂƌƚŶĞƌƐ>>͕Z/EĞǁůďĂŶǇ^ƋƵĂƌĞ͕>>͕
>DĂŶĂŐĞŵĞŶƚŽƌƉŽƌĂƚŝŽŶ͕'ƌŽǀĞŝƚǇWůĂǌĂ͕>͘W͕͘,sĞŶƚĞƌ>>͕Ğƚ
Ăů͘Ϯ͕/ŶůĂŶĚŽŵŵĞƌĐŝĂůZĞĂůƐƚĂƚĞ^ĞƌǀŝĐĞƐ>>͕<ĞŵƉŶĞƌWƌŽƉĞƌƚŝĞƐ͕                                         ƚƚŶ͗<ĞǀŝŶD͘EĞǁŵĂŶ
>>͕EĂƚŝŽŶĂůZĞĂůƚǇΘĞǀĞůŽƉŵĞŶƚŽƌƉ͕͘EŽƌƚŚƌŝĚŐĞƌŽƐƐŝŶŐ>͘W͕͘^^                                        ĂƌĐůĂǇĂŵŽŶdŽǁĞƌ
dƵůƐĂĞŶƚĞƌ>>͕ĞƚĂů͘ϯ͕tŚĞĞůĞƌZ/d͕>W͕ĂŶĚͬŽƌĐĞƌƚĂŝŶŽĨƚŚĞŝƌ                                           ϭϮϱĂƐƚ:ĞĨĨĞƌƐŽŶ^ƚƌĞĞƚ
ĂĨĨŝůŝĂƚĞƐ                                                             ĂƌĐůĂǇĂŵŽŶ>>W                      ^ǇƌĂĐƵƐĞEzϭϯϮϬϮ                                         ŬŶĞǁŵĂŶΛďĂƌĐůĂǇĚĂŵŽŶ͘ĐŽŵ      ŵĂŝů

ŽƵŶƐĞůƚŽĞŶĞŶƐŽŶĂƉŝƚĂůWĂƌƚŶĞƌƐ>>͕Z/EĞǁůďĂŶǇ^ƋƵĂƌĞ͕>>͕
>DĂŶĂŐĞŵĞŶƚŽƌƉŽƌĂƚŝŽŶ͕'ƌŽǀĞŝƚǇWůĂǌĂ͕>͘W͕͘,sĞŶƚĞƌ>>͕Ğƚ
Ăů͘Ϯ͕/ŶůĂŶĚŽŵŵĞƌĐŝĂůZĞĂůƐƚĂƚĞ^ĞƌǀŝĐĞƐ>>͕<ĞŵƉŶĞƌWƌŽƉĞƌƚŝĞƐ͕                                         ƚƚŶ͗EŝĐůĂƐ͘&ĞƌůĂŶĚ
>>͕EĂƚŝŽŶĂůZĞĂůƚǇΘĞǀĞůŽƉŵĞŶƚŽƌƉ͕͘EŽƌƚŚƌŝĚŐĞƌŽƐƐŝŶŐ>͘W͕͘^^                                        ϱϰϱ>ŽŶŐtŚĂƌĨƌŝǀĞ
dƵůƐĂĞŶƚĞƌ>>͕ĞƚĂů͘ϯ͕tŚĞĞůĞƌZ/d͕>W͕ĂŶĚͬŽƌĐĞƌƚĂŝŶŽĨƚŚĞŝƌ                                           EŝŶƚŚ&ůŽŽƌ
ĂĨĨŝůŝĂƚĞƐ                                                             ĂƌĐůĂǇĂŵŽŶ>>W                      EĞǁ,ĂǀĞŶdϬϲϱϭϭ                                        ŶĨĞƌůĂŶĚΛďĂƌĐůĂǇĚĂŵŽŶ͘ĐŽŵ     ŵĂŝů

ŽƵŶƐĞůƚŽĞŶĞŶƐŽŶĂƉŝƚĂůWĂƌƚŶĞƌƐ>>͕Z/EĞǁůďĂŶǇ^ƋƵĂƌĞ͕>>͕
>DĂŶĂŐĞŵĞŶƚŽƌƉŽƌĂƚŝŽŶ͕'ƌŽǀĞŝƚǇWůĂǌĂ͕>͘W͕͘,sĞŶƚĞƌ>>͕Ğƚ
Ăů͘Ϯ͕/ŶůĂŶĚŽŵŵĞƌĐŝĂůZĞĂůƐƚĂƚĞ^ĞƌǀŝĐĞƐ>>͕<ĞŵƉŶĞƌWƌŽƉĞƌƚŝĞƐ͕                                         ƚƚŶ͗^ĐŽƚƚ>͘&ůĞŝƐĐŚĞƌ
>>͕EĂƚŝŽŶĂůZĞĂůƚǇΘĞǀĞůŽƉŵĞŶƚŽƌƉ͕͘EŽƌƚŚƌŝĚŐĞƌŽƐƐŝŶŐ>͘W͕͘^^                                        ϭϮϳϬǀĞŶƵĞŽĨƚŚĞŵĞƌŝĐĂƐ
dƵůƐĂĞŶƚĞƌ>>͕ĞƚĂů͘ϯ͕tŚĞĞůĞƌZ/d͕>W͕ĂŶĚͬŽƌĐĞƌƚĂŝŶŽĨƚŚĞŝƌ                                           ^ƵŝƚĞϱϬϭ
ĂĨĨŝůŝĂƚĞƐ                                                             ĂƌĐůĂǇĂŵŽŶ>>W                      EĞǁzŽƌŬEzϭϬϬϮϬ                                         ƐĨůĞŝƐĐŚĞƌΛďĂƌĐůĂǇĚĂŵŽŶ͘ĐŽŵ   ŵĂŝů

                                                                                                               ƚƚŶ͗<ĞǀŝŶ'͘ŽůůŝŶƐ
                                                                                                               ϮϮϮĞůĂǁĂƌĞǀĞŶƵĞ͕^ƵŝƚĞϭϮϬϬ
ŽƵŶƐĞůƚŽƌŝŶŬ>DEd͕/ŶĐ͘                                             ĂƌŶĞƐΘdŚŽƌŶďƵƌŐ>>W                 tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                       ŬĞǀŝŶ͘ĐŽůůŝŶƐΛďƚůĂǁ͘ĐŽŵ       ŵĂŝů




          /ŶƌĞ͗&ƌĂŶĐŚŝƐĞ'ƌŽƵƉ͕/ŶĐ͕͘ĞƚĂů͘
          ĂƐĞEŽ͘ϮϰͲϭϮϰϴϬ;>^^Ϳ                                                                                    WĂŐĞϭŽĨϭϱ
                                                                       Case 24-12480-LSS                       Doc 1190                    Filed 03/27/25             Page 5 of 22
                                                                                                                            ǆŚŝďŝƚ
                                                                                                                       ŽƌĞͬϮϬϬϮ^ĞƌǀŝĐĞ>ŝƐƚ
                                                                                                                      ^ĞƌǀĞĚĂƐƐĞƚĨŽƌƚŚďĞůŽǁ

                                  ^Z/Wd/KE                                                    ED                                             Z^^                                             D/>      Dd,KK&^Zs/

                                                                                                                      ƚƚŶ͗DĂƌŬZ͘KǁĞŶƐ͕ŵǇ͘dƌǇŽŶ
                                                                                                                      ϮϮϮĞůĂǁĂƌĞǀĞŶƵĞ͕^ƵŝƚĞϭϮϬϬ                          ŵĂƌŬ͘ŽǁĞŶƐΛďƚůĂǁ͘ĐŽŵ
ŽƵŶƐĞůƚŽůĂŶĐŽh^/ŶĐ͘                                                  ĂƌŶĞƐΘdŚŽƌŶďƵƌŐ>>W                     tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                      ĂŵǇ͘ƚƌǇŽŶΛďƚůĂǁ͘ĐŽŵ             ŵĂŝů

ŽƵŶƐĞůĨŽƌ<ŝŶWƌŽƉĞƌƚŝĞƐ͕/ŶĐ͕͘:ĞĨĂŶ>>͕ďĞƌĚĞĞŶKŬůĂŚŽŵĂ
ƐƐŽĐŝĂƚĞƐ͕WĂƐĂŶ>>͕ƐĂŶ>>͕&ƵŶĚĂŵĞŶƚĂůƐŽŵƉĂŶǇ>>͕DƵĨĨƌĞǇ
>>͕&ƵŶĚĂŵĞŶƚĂůƐŽŵƉĂŶǇ͕<ŝŶƉĂƌŬƐƐŽĐŝĂƚĞƐ͕>ĂƵƌŝĞ/ŶĚƵƐƚƌŝĞƐ/ŶĐ͕͘                                               ƚƚŶ͗ƌŝĐŬĂ&͘:ŽŚŶƐŽŶ
ůŝƐĂŶdƌƵƐƚ͕ŝĂũĞĨĨdƌƵƐƚ͕^ƚŽǁƐĂŶ>ŝŵŝƚĞĚWĂƌƚŶĞƌƐŚŝƉ͕ƐƵĞ>>͕ůŝƐĂŶ                                           ϲϬϬE͘DĂƌŬĞƚ^ƚƌĞĞƚ͕^ƵŝƚĞϰϬϬ
>>͕ĂŶĚZŽƐĞĨĨ>>                                                         ĂǇĂƌĚ͕W͘͘                              tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                      ĞũŽŚŶƐŽŶΛďĂǇĂƌĚůĂǁ͘ĐŽŵ          ŵĂŝů

                                                                                                                      ƚƚŶ͗ůůŝŽƚD͘^ŵŝƚŚ
                                                                                                                      ϭϮϳWƵďůŝĐ^ƋƵĂƌĞ͕^ƵŝƚĞϰϵϬϬ
ŽƵŶƐĞůƚŽdŚĞŚŝůĚ^ŵŝůĞƐ'ƌŽƵƉ͕>>ĂͬŬͬĂďƌĂ,ĞĂůƚŚ                    ĞŶĞƐĐŚ&ƌŝĞĚůĂŶĚĞƌŽƉůĂŶΘƌŽŶŽĨĨ>>W   ůĞǀĞůĂŶĚK,ϰϰϭϭϰ                                       ĞƐŵŝƚŚΛďĞŶĞƐĐŚůĂǁ͘ĐŽŵ          ŵĂŝů

                                                                                                                      ƚƚŶ͗<ĞǀŝŶD͘ĂƉƵǌǌŝ͕:ƵĂŶ͘DĂƌƚŝŶĞǌ͕:ĞŶŶŝĨĞƌZ͘
                                                                                                                      ,ŽŽǀĞƌ                                                   ŬĐĂƉƵǌǌŝΛďĞŶĞƐĐŚůĂǁ͘ĐŽŵ
ŽƵŶƐĞůƚŽĂďƐŽŶDĂĐĞĚŽŶŝĂWĂƌƚŶĞƌƐ͕>>͕dDϮ͕>>͕dŚĞŚŝůĚ^ŵŝůĞƐ                                                 ϭϯϭϯEŽƌƚŚDĂƌŬĞƚ^ƚƌĞĞƚ͕^ƵŝƚĞϭϮϬϭ                     ũŵĂƌƚŝŶĞǌΛďĞŶĞƐĐŚůĂǁ͘ĐŽŵ
'ƌŽƵƉ͕>>ĂͬŬͬĂďƌĂ,ĞĂůƚŚ                                          ĞŶĞƐĐŚ&ƌŝĞĚůĂŶĚĞƌŽƉůĂŶΘƌŽŶŽĨĨ>>W        tŝůŵŝŶŐƚŽŶϭϵϴϬϭͲϲϭϬϭ                                 ũŚŽŽǀĞƌΛďĞŶĞƐĐŚůĂǁ͘ĐŽŵ          ŵĂŝů

                                                                                                                 ƚƚŶ͗ĞŶũĂŵŝŶWŽƚƚƐ͕DĂĞKďĞƌƐƚĞ
                                                                                                                 ϱϬϬĞůĂǁĂƌĞǀĞŶƵĞ
ŽƵŶƐĞůƚŽƌŝĂŶ'ĂůĞ͕DĂƌŬEŽďůĞ͕dĞƌƌǇWŚŝůŝƉƉĂƐ͕ĂŶĚ>ĂǁƌĞŶĐĞĂƐƐ                                           ^ƵŝƚĞϵϬϭ                                                     ďĞŶũĂŵŝŶ͘ƉŽƚƚƐΛďůďŐůĂǁ͘ĐŽŵ
ĂŶĚ&ŽƌŵĞƌ^ƚŽĐŬŚŽůĚĞƌƐ                                                ĞƌŶƐƚĞŝŶ>ŝƚŽǁŝƚǌĞƌŐĞƌΘ'ƌŽƐƐŵĂŶŶ>>W tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                           ŵĂĞ͘ŽďĞƌƐƚĞΛďůďŐůĂǁ͘ĐŽŵ         ŵĂŝů

                                                                                                                 ƚƚŶ͗:ĞƌŽĞŶǀĂŶ<ǁĂǁĞŐĞŶ͕dŚŽŵĂƐ:ĂŵĞƐ
ŽƵŶƐĞůƚŽƌŝĂŶ'ĂůĞ͕DĂƌŬEŽďůĞ͕dĞƌƌǇWŚŝůŝƉƉĂƐ͕ĂŶĚ>ĂǁƌĞŶĐĞĂƐƐ                                           ϭϮϱϭǀĞŶƵĞŽĨƚŚĞŵĞƌŝĐĂƐ                                   ũĞƌŽĞŶΛďůďŐůĂǁ͘ĐŽŵ
ĂŶĚ&ŽƌŵĞƌ^ƚŽĐŬŚŽůĚĞƌƐ                                                ĞƌŶƐƚĞŝŶ>ŝƚŽǁŝƚǌĞƌŐĞƌΘ'ƌŽƐƐŵĂŶŶ>>W EĞǁzŽƌŬEzϭϬϬϮϬ                                             ƚŚŽŵĂƐ͘ũĂŵĞƐΛďůďŐůĂǁ͘ĐŽŵ        ŵĂŝů

                                                                                                                      ƚƚŶ͗^ĐŽƚƚůĂŬĞůĞǇ
                                                                                                                      ϱϯϬdĞĐŚŶŽůŽŐǇƌŝǀĞ
                                                                                                                      ^ƵŝƚĞϭϬϬ
ŽƵƐŶĞůƚŽŽĐƚŽƌΖƐĞƐƚ/ŶĐ                                               ůĂŬĞůĞǇ>                                /ƌǀŝŶĞϵϮϲϭϴ                                          ^ΛůĂŬĞůĞǇ>͘ĐŽŵ              ŵĂŝů

                                                                                                                      ƚƚŶ͗DŝĐŚĂĞů͘^ĐŚĂĞĚůĞ͕^ƚĂŶůĞǇ͘dĂƌƌ͕:ŽƌĚĂŶ>͘
                                                                                                                      tŝůůŝĂŵƐ                                                 ŵŝŬĞ͘ƐĐŚĂĞĚůĞΛďůĂŶŬƌŽŵĞ͘ĐŽŵ
ŽƵŶƐĞůĨŽƌtŝůŵŝŶŐƚŽŶdƌƵƐƚ͕EĂƚŝŽŶĂůƐƐŽĐŝĂƚŝŽŶ͕ĂƐWƌĞƉĞƚŝƚŝŽŶ&ŝƌƐƚ                                             ϭϮϬϭE͘DĂƌŬĞƚ^ƚƌĞĞƚ͕^ƵŝƚĞϴϬϬ                         ƐƚĂŶůĞǇ͘ƚĂƌƌΛďůĂŶŬƌŽŵĞ͘ĐŽŵ
>ŝĞŶŐĞŶƚĂŶĚ/WŐĞŶƚ                                                  ůĂŶŬZŽŵĞ>>W                              tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                      ũŽƌĚĂŶ͘ǁŝůůŝĂŵƐΛďůĂŶŬƌŽŵĞ͘ĐŽŵ   ŵĂŝů

                                                                                                                      ƚƚŶ͗<ŝŵďĞƌůǇ͘ǀĂŶƐ͕/ƌĞŶĞZ͘>Ăǆ
                                                                                                                      ϮϮϮĞůĂǁĂƌĞǀĞ
ŽƵŶƐĞůƚŽƌŝĂŶ'ĂůĞ͕DĂƌŬEŽďůĞ͕dĞƌƌǇWŚŝůŝƉƉĂƐ͕ĂŶĚ>ĂǁƌĞŶĐĞĂƐƐ͕                                               ^ƵŝƚĞϭϭϮϬ                                               ŬŝŵΛďůŽĐŬůĞǀŝƚŽŶ͘ĐŽŵ
ĂŶĚ&ŽƌŵĞƌ^ƚŽĐŬŚŽůĚĞƌƐ                                                ůŽĐŬΘ>ĞǀŝƚŽŶ͕>>W                          tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                      ŝƌĞŶĞΛďůŽĐŬůĞǀŝƚŽŶ͘ĐŽŵ          ŵĂŝů

                                                                                                                                                                               ĨŝƚǌŐĞƌĂůĚďΛŚĐĨů͘ŐŽǀ
                                                                                                                      WŽƐƚKĨĨŝĐĞŽǆϭϭϭϬ                                     ƐƚƌŽƵƉũΛŚĐĨů͘ŐŽǀ
ŽƵŶƐĞůƚŽEĂŶĐǇ͘DŝůůĂŶ͕,ŝůůƐďŽƌŽƵŐŚŽƵŶƚǇdĂǆŽůůĞĐƚŽƌ              ƌŝĂŶd͘&ŝƚǌ'ĞƌĂůĚ                        dĂŵƉĂ&>ϯϯϲϬϭͲϭϭϭϬ                                      ĐŽŶŶŽƌƐĂΛŚĐĨů͘ŐŽǀ               ŵĂŝů




         /ŶƌĞ͗&ƌĂŶĐŚŝƐĞ'ƌŽƵƉ͕/ŶĐ͕͘ĞƚĂů͘
         ĂƐĞEŽ͘ϮϰͲϭϮϰϴϬ;>^^Ϳ                                                                                            WĂŐĞϮŽĨϭϱ
                                                                    Case 24-12480-LSS                            Doc 1190               Filed 03/27/25            Page 6 of 22
                                                                                                                         ǆŚŝďŝƚ
                                                                                                                    ŽƌĞͬϮϬϬϮ^ĞƌǀŝĐĞ>ŝƐƚ
                                                                                                                   ^ĞƌǀĞĚĂƐƐĞƚĨŽƌƚŚďĞůŽǁ

                                  ^Z/Wd/KE                                               ED                                               Z^^                                         D/>       Dd,KK&^Zs/

                                                                                                                   ƚƚŶ͗<ƌŝƐƚĞŶE͘WĂƚĞ
                                                                                                                   ϯϱϬE͘KƌůĞĂŶƐ^ƚƌĞĞƚ
                                                                                                                   ^ƵŝƚĞϯϬϬ
ŽƵŶƐĞůƚŽƌŽŽŬĨŝĞůĚWƌŽƉĞƌƚŝĞƐZĞƚĂŝů/ŶĐ                              ƌŽŽŬĨŝĞůĚWƌŽƉĞƌƚŝĞƐZĞƚĂŝů/ŶĐ          ŚŝĐĂŐŽ/>ϲϬϲϱϰͲϭϲϬϳ                                ďŬΛďƉƌĞƚĂŝů͘ĐŽŵ                  ŵĂŝů

                                                                                                                   ƚƚŶ͗^ŚĂǁŶD͘ŚƌŝƐƚŝĂŶƐŽŶ
                                                                                                                   ϰϮϱDĂƌŬĞƚ^ƚƌĞĞƚ͕^ƵŝƚĞϮϵϬϬ
ŽƵŶƐĞůƚŽKƌĂĐůĞŵĞƌŝĐĂ͕/ŶĐ                                           ƵĐŚĂůƚĞƌ͕WƌŽĨĞƐƐŝŽŶĂůŽƌƉŽƌĂƚŝŽŶ     ^ĂŶ&ƌĂŶĐŝƐĐŽϵϰϭϬϱͲϯϰϵϯ                          Ɛ ĐŚƌŝƐƚŝĂŶƐŽŶΛďƵĐŚĂůƚĞƌ͘ĐŽŵ    ŵĂŝů

                                                                                                                   ƚƚŶ͗:͘ŽƌǇ&ĂůŐŽǁƐŬŝ
ŽƵŶƐĞůƚŽŽŵĞŶŝƚǇĂƉŝƚĂůĂŶŬ͕dKϮϰĂƌŽůŝŶĂ>>͕ĂƐƐƵĐĐĞƐƐŽƌŝŶ                                             ϮϮϮĞůĂǁĂƌĞǀĞŶƵĞ͕^ƵŝƚĞϭϬϯϬ
ŝŶƚĞƌĞƐƚƚŽZĂƌŽůŝŶĂWĂǀŝůŝŽŶ͕>W͕^ǇůǀĂŶWĂƌŬƉĂƌƚŵĞŶƚƐ͕>>     ƵƌƌΘ&ŽƌŵĂŶ>>W                           tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                  ũĨĂůŐŽǁƐŬŝΛďƵƌƌ͘ĐŽŵ              ŵĂŝů

                                                                                                                   ƚƚŶ͗:͘ůůƐǁŽƌƚŚ^ƵŵŵĞƌƐ͕:ƌ͕͘ĂŶĂ>͘ZŽďďŝŶƐ
ŽƵŶƐĞůĨŽƌdKϮϰĂƌŽůŝŶĂ>>͕ĂƐƐƵĐĐĞƐƐŽƌŝŶŝŶƚĞƌĞƐƚƚŽZĂƌŽůŝŶĂ                                          ϱϬEŽƌƚŚ>ĂƵƌĂ^ƚƌĞĞƚ͕^ƵŝƚĞϯϬϬϬ                    ĞƐƵŵŵĞƌƐΛďƵƌƌ͘ĐŽŵ
WĂǀŝůŝŽŶ͕>W͕^ǇůǀĂŶWĂƌŬƉĂƌƚŵĞŶƚƐ͕>>                                 ƵƌƌΘ&ŽƌŵĂŶ>>W                        :ĂĐŬƐŽŶǀŝůůĞ&>ϯϮϮϬϮ                                ĚƌŽďďŝŶƐΛďƵƌƌ͘ĐŽŵ                ŵĂŝů

                                                                                                                   ƚƚŶ͗:ĂŵĞƐ,͘,ĂŝƚŚĐŽĐŬ͕///
                                                                                                                   ϰϮϬE͘ϮϬƚŚ^ƚƌĞĞƚ͕^ƵŝƚĞϯϰϬϬ
ŽƵŶƐĞůƚŽŽŵĞŶŝƚǇĂƉŝƚĂůĂŶŬ                                         ƵƌƌΘ&ŽƌŵĂŶ>>W                         ŝƌŵŝŶŐŚĂŵ>ϯϱϮϬϯ                                  ũŚĂŝƚŚĐŽĐŬΛďƵƌƌ͘ĐŽŵ              ŵĂŝů

                                                                                                                   ƚƚŶ͗ZŝĐŚĂƌĚ:͘DĐŽƌĚ
                                                                                                                   ϵϬDĞƌƌŝĐŬǀĞŶƵĞ
                                                                                                                   ϵƚŚ&ůŽŽƌ
ŽƵŶƐĞůƚŽϯϲϰϰ>ŽŶŐĞĂĐŚZŽĂĚ>>                                      ĞƌƚŝůŵĂŶĂůŝŶĚůĞƌΘ,ǇŵĂŶ͕>>W        ĂƐƚDĞĂĚŽǁEzϭϭϱϱϰ                                 ƌŵĐĐŽƌĚΛĐĞƌƚŝůŵĂŶďĂůŝŶ͘ĐŽŵ       ŵĂŝů

                                                                                                                   ƚƚŶ͗DĂƌŬ>͘ĞƐŐƌŽƐƐĞŝůůŝĞƌƐ
                                                                                                                   ,ĞƌĐƵůĞƐWůĂǌĂ
                                                                                                                   ϭϯϭϯEŽƌƚŚDĂƌŬĞƚ^ƚ͕^ƵŝƚĞϱϰϬϬ
ŽƵŶƐĞůƚŽ,ŝůĐŽDĞƌĐŚĂŶƚZĞƐŽƵƌĐĞƐ͕>>                                 ŚŝƉŵĂŶƌŽǁŶŝĐĞƌŽΘŽůĞ͕>>W          tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                  ĚĞƐŐƌŽƐƐΛĐŚŝƉŵĂŶďƌŽǁŶ͘ĐŽŵ        ŵĂŝů

                                                                                                                   ƚƚŶ͗ƵĚƌĞǇ>͘,ŽƌŶŝƐŚĞƌ
ŽƵŶƐĞůƚŽƌŽƐƐƌŽĂĚƐĞŶƚƌĞ//͕>>͕^ƵƌƉƌŝƐĞdŽǁŶĞĞŶƚĞƌ,ŽůĚŝŶŐƐ͕                                             ϵϬϭDĂŝŶ^ƚƌĞĞƚ͕^ƵŝƚĞϲϬϬϬ
>>͕s^dĞŵƉĞ͕>>͕sĞƐƚĂƌͲWddĞŵƉĞDĂƌŬĞƚƉůĂĐĞ͕>>                    ůĂƌŬ,ŝůůW>                            ĂůůĂƐdyϳϱϮϬϮ                                      Ă ŚŽƌŶŝƐŚĞƌΛĐůĂƌŬŚŝůů͘ĐŽŵ       ŵĂŝů

                                                                                                                   ƚƚŶ͗<ĂƌĞŶD͘'ƌŝǀŶĞƌ
ŽƵŶƐĞůƚŽƌŽƐƐƌŽĂĚƐĞŶƚƌĞ//͕>>͕^ƵƌƉƌŝƐĞdŽǁŶĞĞŶƚĞƌ,ŽůĚŝŶŐƐ͕                                             ϴϮϰE͘DĂƌŬĞƚ^ƚƌĞĞƚ͕^ƵŝƚĞϳϭϬ
>>͕s^dĞŵƉĞ͕>>͕sĞƐƚĂƌͲWddĞŵƉĞDĂƌŬĞƚƉůĂĐĞ͕>>                    ůĂƌŬ,ŝůůW>                            tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                  Ŭ ŐƌŝǀŶĞƌΛĐůĂƌŬŚŝůů͘ĐŽŵ         ŵĂŝů

                                                                                                                   ƚƚŶ͗ƌƵĐĞ͘tĂůŬĞƌ
                                                                                                                   ϯϯϱϬZŝǀĞƌǁŽŽĚWĂƌŬǁĂǇ͕^ƵŝƚĞϭϲϬϬ
ŽƵŶƐĞůƚŽ,ŽƌŝǌŽŶ:ĂũŽ͕>>                                             ŽŚĞŶWŽůůŽĐŬDĞƌůŝŶdƵƌŶĞƌ͕W͘͘         ƚůĂŶƚĂ'ϯϬϯϯϵ                                     ď
                                                                                                                                                                         ǁĂůŬĞƌΛĐƉŵƚůĂǁ͘ĐŽŵ             ŵĂŝů

                                                                                                                   ƚƚŶ͗:ĞĨĨƌĞǇ͘tŝƐůĞƌ
                                                                                                                   ϭϮϬϭEŽƌƚŚDĂƌŬĞƚ^ƚƌĞĞƚ͕ϮϬƚŚ&ůŽŽƌ
ŽƵŶƐĞůƚŽůƵĞzŽŶĚĞƌ͕/ŶĐ͘                                             ŽŶŶŽůůǇ'ĂůůĂŐŚĞƌ>>W                    tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                  ũǁŝƐůĞƌΛĐŽŶŶŽůůǇŐĂůůĂŐŚĞƌ͘ĐŽŵ   ŵĂŝů




         /ŶƌĞ͗&ƌĂŶĐŚŝƐĞ'ƌŽƵƉ͕/ŶĐ͕͘ĞƚĂů͘
         ĂƐĞEŽ͘ϮϰͲϭϮϰϴϬ;>^^Ϳ                                                                                         WĂŐĞϯŽĨϭϱ
                                                                        Case 24-12480-LSS                        Doc 1190                   Filed 03/27/25          Page 7 of 22
                                                                                                                             ǆŚŝďŝƚ
                                                                                                                        ŽƌĞͬϮϬϬϮ^ĞƌǀŝĐĞ>ŝƐƚ
                                                                                                                       ^ĞƌǀĞĚĂƐƐĞƚĨŽƌƚŚďĞůŽǁ

                                   ^Z/Wd/KE                                                   ED                                              Z^^                                      D/>            Dd,KK&^Zs/

                                                                                                                       ƚƚŶ͗:ŽŚŶ͘>ĂŶĚǁĞŚƌ
                                                                                                                       ϮϯϭDĂĚŝƐŽŶ^ƚƌĞĞƚ
ŽƵŶƐĞůƚŽDŝƐƐŽƵƌŝŽƵůĞǀĂƌĚ/ŶǀĞƐƚŵĞŶƚŽŵƉĂŶǇ                             ŽŽŬ͕sĞƚƚĞƌ͕ŽĞƌŚŽĨĨΘ>ĂŶĚǁĞŚƌ͕W͘͘   :ĞĨĨĞƌƐŽŶŝƚǇDKϲϱϭϬϭ                            ũůĂŶĚǁĞŚƌΛĐǀĚů͘ŶĞƚ                  ŵĂŝů

                                                                                                                       ƚƚŶ͗ĞůŬǇƐƐĐŽďĂƌ
                                                                                                                       KŶĞ,ĂƌƌŝƐŽŶ^ƚƌĞĞƚ͕^͕ϱƚŚ&ůŽŽƌ
                                                                                                                       WKŽǆϳϬϬϬ
ŽƵŶƐĞůƚŽŽƵŶƚǇŽĨ>ŽƵĚŽƵŶ͕sŝƌŐŝŶŝĂ                                       ŽƵŶƚǇŽĨ>ŽƵĚŽƵŶ͕sŝƌŐŝŶŝĂ               >ĞĞƐďƵƌŐsϮϬϭϳϳͲϳϬϬϬ                             ďĞůŬǇƐ͘ĞƐĐŽďĂƌΛůŽƵĚŽƵŶ͘ŐŽǀ           ŵĂŝů

                                                                                                                       ƚƚŶ͗tŝůůŝĂŵ>͘^ŝĞŐĞů
                                                                                                                       ϵϬϭDĂŝŶ^ƚƌĞĞƚ͕^ƵŝƚĞϯϵϬϬ
ŽƵŶƐĞůƚŽ<ƌŽďĞƌ^ƵƉƉůǇŚĂŝŶh^͕/ŶĐ                                       ŽǁůĞƐΘdŚŽŵƉƐŽŶ͕W͘͘                   ĂůůĂƐdyϳϱϮϬϮ                                    ďƐŝĞŐĞůΛĐŽǁůĞƐƚŚŽŵƉƐŽŶ͘ĐŽŵ           ŵĂŝů

                                                                                                                       ƚƚŶ͗ƌŝĂŶ>͘^ŚĂǁ
                                                                                                                       ϭϮϯEŽƌƚŚtĂĐŬĞƌƌŝǀĞ
                                                                                                                       ^ƵŝƚĞϭϴϬϬ
ŽƵŶƐĞůƚŽƚŚĞWƌŽƉŚĞĐǇ^ĞƚƚůĞŵĞŶƚͲƌĞůĂƚĞĚ>ŝƋƵŝĚĂƚŝŶŐdƌƵƐƚϮϬϮϮͲϮϯ         ŽǌĞŶKΖŽŶŶŽƌ                            ŚŝĐĂŐŽ/>ϲϬϲϬϲ                                   ďƐŚĂǁΛĐŽǌĞŶ͘ĐŽŵ                      ŵĂŝů

                                                                                                                       ƚƚŶ͗DĂƌůĂ^͘ĞŶĞĚĞŬ͕<ĂĂŶŬŝŶĞƌ
                                                                                                                       ϭϮϬϭE͘DĂƌŬĞƚ^ƚƌĞĞƚ
                                                                                                                       ^ƵŝƚĞϭϬϬϭ                                         ŵďĞŶĞĚĞŬΛĐŽǌĞŶ͘ĐŽŵ
ŽƵŶƐĞůƚŽƚŚĞWƌŽƉŚĞĐǇ^ĞƚƚůĞŵĞŶƚͲƌĞůĂƚĞĚ>ŝƋƵŝĚĂƚŝŶŐdƌƵƐƚϮϬϮϮͲϮϯ         ŽǌĞŶKΖŽŶŶŽƌ                            tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                ŬĞŬŝŶĞƌΛĐŽǌĞŶ͘ĐŽŵ                    ŵĂŝů

ŽƵŶƐĞůƚŽtŽŽĚďŽůƚŝƐƚƌŝďƵƚŝŽŶ͕>>͕'ůĂŶďŝĂWĞƌĨŽƌŵĂŶĐĞEƵƚƌŝƚŝŽŶ͕                                                 ƚƚŶ͗ŚƌŝƐƚŽƉŚĞƌW͘^ŝŵŽŶ
/ŶĐ͕͘^ƵŶǁĂƌƌŝŽƌsĞŶƚƵƌĞƐ>>ĚͬďͬĂ^ƵŶǁĂƌƌŝŽƌ>>ĂŶĚ^ƵŶƌŽƚŚĞƌƐ͕                                                  ϭϭϬϱEŽƌƚŚDĂƌŬĞƚ^ƚƌĞĞƚ͕^ƵŝƚĞϵϬϭ
>>                                                                    ƌŽƐƐΘ^ŝŵŽŶ͕>>                              tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                Đ ƐŝŵŽŶΛĐƌŽƐƐůĂǁ͘ĐŽŵ                ŵĂŝů

                                                                                                                       ƚƚŶ͗<ĞǀŝŶ^͘DĂŶŶ
                                                                                                                       ϭϭϬϱEŽƌƚŚDĂƌŬĞƚ^ƚƌĞĞƚ͕^ƵŝƚĞϵϬϭ
ŽƵŶƐĞůƚŽ<ĂǁŝƉƐĞůĂǁĂƌĞƵǇĂŚŽŐĂ&ĂůůƐ͕>>                               ƌŽƐƐΘ^ŝŵŽŶ͕>>                        tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                ŬŵĂŶŶΛĐƌŽƐƐůĂǁ͘ĐŽŵ                   ŵĂŝů

                                                                                                                       ƚƚŶ͗^ƚĞƉŚĞŶ͘WŽƌƚĞƌĨŝĞůĚ
                                                                                                                       Ϯϯϭϭ,ŝŐŚůĂŶĚǀĞŶƵĞ^ŽƵƚŚ
                                                                                                                       W͘K͘ŽǆϱϱϳϮϳ
ŽƵŶƐĞůƚŽ<ŝŶŐƐDŽƵŶƚĂŝŶ/ŶǀĞƐƚŵĞŶƚƐ͕/ŶĐ͘                                 ĞŶƚŽŶƐ^ŝƌŽƚĞW                         ŝƌŵŝŶŐŚĂŵ>ϯϱϮϱϱͲϱϳϮϳ                           Ɛ ƚĞƉŚĞŶ͘ƉŽƌƚĞƌĨŝĞůĚΛĚĞŶƚŽŶƐ͘ĐŽŵ    ŵĂŝů

                                                                                                                       ƚƚŶ͗ŚƌŝƐƚŽƉŚĞƌD͘tŝŶƚĞƌ͕:ĂŵĞƐ͘ĂƌŝŐŶĂŶ
                                                                                                                       ϭϮϬϭE͘DĂƌŬĞƚ^ƚƌĞĞƚ͕^ƵŝƚĞϱϬϭ                   ĐŵǁŝŶƚĞƌΛĚƵĂŶĞŵŽƌƌŝƐ͘ĐŽŵ
ŽƵŶƐĞůƚŽŚƵũĂĞǀĞůŽƉŵĞŶƚ>>                                             ƵĂŶĞDŽƌƌŝƐ>>W                          tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                ũĐĐĂƌŝŐŶĂŶΛĚƵĂŶĞŵŽƌƌŝƐ͘ĐŽŵ           ŵĂŝů

                                                                                                                       ƚƚŶ͗DŝĐŚĂĞůd͘'ƵƐƚĂĨƐŽŶ
                                                                                                                       ϯϮϬ^ŽƵƚŚĂŶĂů^ƚƌĞĞƚ͕^ƵŝƚĞϯϯϬϬ
ŽƵŶƐĞůƚŽhŶŝƚĞĚWĂƌĐĞů^ĞƌǀŝĐĞ͕/ŶĐ͘ĂŶĚŝƚƐƐƵďƐŝĚŝĂƌŝĞƐĂŶĚĂĨĨŝůŝĂƚĞƐ   &ĂĞŐƌĞƌŝŶŬĞƌŝĚĚůĞΘZĞĂƚŚ>>W         ŚŝĐĂŐŽ/>ϲϬϲϬϲ                                   ŵ
                                                                                                                                                                           ŝŬĞ͘ŐƵƐƚĂĨƐŽŶΛĨĂĞŐƌĞĚƌŝŶŬĞƌ͘ĐŽŵ    ŵĂŝů

                                                                                                                       ƚƚŶ͗WĂƚƌŝĐŬ͘:ĂĐŬƐŽŶ
                                                                                                                       ϮϮϮĞůĂǁĂƌĞǀĞŶƵĞ͕^ƵŝƚĞϭϰϭϬ
ŽƵŶƐĞůƚŽhŶŝƚĞĚWĂƌĐĞů^ĞƌǀŝĐĞ͕/ŶĐ͘ĂŶĚŝƚƐƐƵďƐŝĚŝĂƌŝĞƐĂŶĚĂĨĨŝůŝĂƚĞƐ   &ĂĞŐƌĞƌŝŶŬĞƌŝĚĚůĞΘZĞĂƚŚ>>W         tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                Ɖ
                                                                                                                                                                           ĂƚƌŝĐŬ͘ũĂĐŬƐŽŶΛĨĂĞŐƌĞĚƌŝŶŬĞƌ͘ĐŽŵ   ŵĂŝů




          /ŶƌĞ͗&ƌĂŶĐŚŝƐĞ'ƌŽƵƉ͕/ŶĐ͕͘ĞƚĂů͘
          ĂƐĞEŽ͘ϮϰͲϭϮϰϴϬ;>^^Ϳ                                                                                            WĂŐĞϰŽĨϭϱ
                                                                   Case 24-12480-LSS                          Doc 1190                    Filed 03/27/25         Page 8 of 22
                                                                                                                           ǆŚŝďŝƚ
                                                                                                                      ŽƌĞͬϮϬϬϮ^ĞƌǀŝĐĞ>ŝƐƚ
                                                                                                                     ^ĞƌǀĞĚĂƐƐĞƚĨŽƌƚŚďĞůŽǁ

                                  ^Z/Wd/KE                                              ED                                                  Z^^                                     D/>               Dd,KK&^Zs/

                                                                                                                     ƚƚŶ͗ƌŝĂŶ͘&ĂƌŶĂŶ͕DŝĐŚĂĞů:͘&ĂƌŶĂŶ
                                                                                                                     ϵϭϵEŽƌƚŚDĂƌŬĞƚ^ƚƌĞĞƚ
                                                                                                                     ϭϮƚŚ&ůŽŽƌ                                        ďĨĂƌŶĂŶΛĨĂƌŶĂŶůĂǁ͘ĐŽŵ
ŽƵŶƐĞůƚŽĚ,ŽĐ'ƌŽƵƉŽĨ&ƌĞĞĚŽŵ>ĞŶĚĞƌƐ                              &ĂƌŶĂŶ>>W                                   tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                               ŵĨĂƌŶĂŶΛĨĂƌŶĂŶůĂǁ͘ĐŽŵ                  ŵĂŝů

                                                                                                                     ƚƚŶ͗ƌŝŶW͘^ĞǀĞƌŝŶŝ͕:ŽǇ͘<ůĞŝƐŝŶŐĞƌ
                                                                                                                     ϯϯϬϬ'ƌĞĂƚŵĞƌŝĐĂŶdŽǁĞƌ
                                                                                                                     ϯϬϭĂƐƚ&ŽƵƌƚŚ^ƚƌĞĞƚ                            ĞƐĞǀĞƌŝŶŝΛĨďƚůĂǁ͘ĐŽŵ
ŽƵŶƐĞůĨŽƌtW'>ĞŐĂĐǇ͕>>                                             &ƌŽƐƚƌŽǁŶdŽĚĚ>>W                         ŝŶĐŝŶŶĂƚŝK,ϰϱϮϬϮ                               ũŬůĞŝƐŝŶŐĞƌΛĨďƚůĂǁ͘ĐŽŵ                 ŵĂŝů

                                                                                                                     ƚƚŶ͗^ůŽĂŶĞ͘K͛ŽŶŶĞůů
                                                                                                                     hŶŝŽŶdƌƵƐƚƵŝůĚŝŶŐ
                                                                                                                     ϱϬϭ'ƌĂŶƚ^ƚƌĞĞƚ͕^ƵŝƚĞϴϬϬ
ŽƵŶƐĞůĨŽƌŝŶƚĂƐŽƌƉŽƌĂƚŝŽŶEŽ͘Ϯ                                    &ƌŽƐƚƌŽǁŶdŽĚĚ>>W                         WŝƚƚƐďƵƌŐŚWϭϱϮϭϵ                               Ɛ ŽĚŽŶŶĞůůΛĨ ďƚůĂǁ͘ĐŽŵ                ŵĂŝů

                                                                                                                     ƚƚŶ͗>ŽƌĞŶǌŽEƵŶĞǌ
                                                                                                                     WKŽǆϭϴϯϴϱϯ
ŽƵŶƐĞůƚŽZ>ĞĂƐŝŶŐ>dĚͬďͬĂ'D&ŝŶĂŶĐŝĂů>ĞĂƐŝŶŐ                  'D&ŝŶĂŶĐŝĂů>ĞĂƐŝŶŐ                         ƌůŝŶŐƚŽŶdyϳϲϬϵϲ                                                                       &ŝƌƐƚůĂƐƐDĂŝů

                                                                                                                     ƚƚŶ͗ŶƚŚŽŶǇt͘ůĂƌŬ͕ĞŶŶŝƐ͘DĞůŽƌŽ
                                                                                                                     ϮϮϮĞůĂǁĂƌĞǀĞŶƵĞ
                                                                                                                     ^ƵŝƚĞϭϲϬϬ                                        ŶƚŚŽŶǇ͘ůĂƌŬΛŐƚůĂǁ͘ĐŽŵ
ŽƵŶƐĞůƚŽƌŝǌŽŶĂEƵƚƌŝƚŝŽŶĂů^ƵƉƉůĞŵĞŶƚƐ                              'ƌĞĞŶďĞƌŐdƌĂƵƌŝŐ͕>>W                       tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                               ĞŶŶŝƐ͘DĞůŽƌŽΛŐƚůĂǁ͘ĐŽŵ                ŵĂŝů

                                                                                                                     ^ƵƐĂŶ&ƵĞƌƚĞƐ
ŽƵŶƐĞůƚŽ,ĂƌƌŝƐŽƵŶƚǇ͕,ĂƌƌŝƐŽƵŶƚǇ&ůŽŽĚŽŶƚƌŽůŝƐƚƌŝĐƚ͕,ĂƌƌŝƐ                                              ƚƚŶ͗WƌŽƉĞƌƚǇdĂǆŝǀŝƐŝŽŶ
ŽƵŶƚǇWŽƌƚŽĨ,ŽƵƐƚŽŶƵƚŚŽƌŝƚǇ͕,ĂƌƌŝƐŽƵŶƚǇ,ŽƐƉŝƚĂůŝƐƚƌŝĐƚ͕ĂŶĚ                                              W͘K͘ŽǆϮϴϰϴ
,ĂƌƌŝƐŽƵŶƚǇĞƉĂƌƚŵĞŶƚŽĨĚƵĐĂƚŝŽŶ;ŚĞƌĞŝŶĂĨƚĞƌ͞,ĂƌƌŝƐŽƵŶƚǇ͟Ϳ     ,ĂƌƌŝƐŽƵŶƚǇƚƚŽƌŶĞǇ͛ƐKĨĨŝĐĞ              ,ŽƵƐƚŽŶdyϳϳϮϱϮ                                  ƚĂǆďĂŶŬƌƵƉƚĐǇ͘ĐĂŽΛŚĂƌƌŝƐĐŽƵŶƚǇƚǆ͘ŐŽǀ   ŵĂŝů

                                                                                                                     ƚƚŶ͗WŚŝůůŝƉt͘EĞůƐŽŶ
                                                                                                                     ϭϱϬE͘ZŝǀĞƌƐŝĚĞWůĂǌĂ͕^ƵŝƚĞϮϳϬϬ
ŽƵŶƐĞůƚŽůƚĞƌŽŵƵƐ;h^Ϳ>>                                         ,ŽůůĂŶĚΘ<ŶŝŐŚƚ>>W                         ŚŝĐĂŐŽ/>ϲϬϲϬϲ                                  ƉŚŝůůŝƉ͘ŶĞůƐŽŶΛŚŬůĂǁ͘ĐŽŵ               ŵĂŝů

                                                                                                                     ƚƚŶ͗&ůŽƌĂKƌŽƉĞǌĂ
                                                                                                                     ϵϰϬtĞƐƚDĂŝŶ^ƚƌĞĞƚ͕^ƵŝƚĞϭϬϲ
ŽƵŶƐĞůƚŽŽƵŶƚǇƚŽ/ŵƉĞƌŝĂůdƌĞĂƐƵƌĞƌͲdĂǆŽůůĞĐƚŽƌ                   /ŵƉĞƌŝĂůdƌĞĂƐƵƌĞƌͲdĂǆŽůůĞĐƚŽƌ             ůĞŶƚƌŽϵϮϮϰϯ                                                                       &ŝƌƐƚůĂƐƐDĂŝů

                                                                                                                     ĞŶƚƌĂůŝǌĞĚ/ŶƐŽůǀĞŶĐǇKƉĞƌĂƚŝŽŶ
                                                                                                                     W͘K͘Žǆϳϯϰϲ
/Z^/ŶƐŽůǀĞŶĐǇ^ĞĐƚŝŽŶ                                                  /ŶƚĞƌŶĂůZĞǀĞŶƵĞ^ĞƌǀŝĐĞ                     WŚŝůĂĚĞůƉŚŝĂWϭϵϭϬϭͲϳϯϰϲ                                                               &ŝƌƐƚůĂƐƐDĂŝů

                                                                                                                     ƚƚŶ͗tŝůůŝĂŵ:͘>ĞǀĂŶƚ
                                                                                                                     ϵϭϬ,ĂƌǀĞƐƚƌŝǀĞ
                                                                                                                     WŽƐƚKĨĨŝĐĞŽǆϯϬϯϳ
ŽƵŶƐĞůƚŽϭϬϬƌĞŶƚǁŽŽĚƐƐŽĐŝĂƚĞƐ͕>͘W͘                               <ĂƉůŝŶ^ƚĞǁĂƌƚDĞůŽĨĨZĞŝƚĞƌΘ^ƚĞŝŶ͕W͘͘   ůƵĞĞůůWϭϵϰϮϮ                                ǁ
                                                                                                                                                                        ůĞǀĂŶƚΛŬĂƉůĂǁ͘ĐŽŵ                    ŵĂŝů




         /ŶƌĞ͗&ƌĂŶĐŚŝƐĞ'ƌŽƵƉ͕/ŶĐ͕͘ĞƚĂů͘
         ĂƐĞEŽ͘ϮϰͲϭϮϰϴϬ;>^^Ϳ                                                                                           WĂŐĞϱŽĨϭϱ
                                                                      Case 24-12480-LSS                          Doc 1190               Filed 03/27/25              Page 9 of 22
                                                                                                                         ǆŚŝďŝƚ
                                                                                                                    ŽƌĞͬϮϬϬϮ^ĞƌǀŝĐĞ>ŝƐƚ
                                                                                                                   ^ĞƌǀĞĚĂƐƐĞƚĨŽƌƚŚďĞůŽǁ

                                  ^Z/Wd/KE                                                 ED                                             Z^^                                                  D/>                 Dd,KK&^Zs/

ŽƵŶƐĞůƚŽWŽƌƚĨŽůŝŽKǁŶĞƌ>>͕,YKǁŶĞƌ>>͕ƌŽŽŬĨŝĞůĚ
WƌŽƉĞƌƚŝĞƐZĞƚĂŝů͕/ŶĐ͕͘ƵƌďůŝŶĞWƌŽƉĞƌƚŝĞƐŽƌƉ͕͘&ŝƌƐƚtĂƐŚŝŶŐƚŽŶ                                              ƚƚŶ͗ZŽďĞƌƚ>͘>Ğ,ĂŶĞ͕:ĞŶŶŝĨĞƌ͘ZĂǀŝĞůĞ͕ůůŝƐŽŶ^ĞůŝĐŬ    <tĂŶŬƌƵƉƚĐǇĞƉĂƌƚŵĞŶƚΛŬĞůůĞǇĚƌǇĞ͘ĐŽŵ
ZĞĂůƚǇ͕'WŽŽŵ>>͕:>>WƌŽƉĞƌƚǇDĂŶĂŐĞŵĞŶƚ;&ƌĂŶŬůŝŶDĂůůͿ͕<ŝƚĞ                                               ϯtŽƌůĚdƌĂĚĞĞŶƚĞƌ                                           ƌůĞŚĂŶĞΛŬĞůůĞǇĚƌǇĞ͘ĐŽŵ
ZĞĂůƚǇ'ƌŽƵƉ͕>͘W͕͘EEEZ/d͕/ŶĐ͕͘ZĞŐĞŶĐǇĞŶƚĞƌƐ͕>͘W͕͘^ŚĂŵƌŽĐŬ͘                                            ϭϳϱ'ƌĞĞŶǁŝĐŚ^ƚƌĞĞƚ                                           ũƌĂǀŝĞůĞΛŬĞůůĞǇĚƌǇĞ͘ĐŽŵ
KǁŶĞƌ>>͕ĂŶĚ^/dĞŶƚĞƌƐŽƌƉ͘                                         <ĞůůĞǇƌǇĞΘtĂƌƌĞŶ>>W                 EĞǁzŽƌŬEzϭϬϬϬϳ                                              ĂƐĞůŝĐŬΛŬĞůůĞǇĚƌǇĞ͘ĐŽŵ                   ŵĂŝů

                                                                                                                   ƚƚŶ͗DŝĐŚĞůůĞ>ĞĞƐŽŶ͕WĂƌĂůĞŐĂů͕ŽůůĞĐƚŝŽŶƐ^ƉĞĐŝĂůŝƐƚ͕
                                                                                                                   &
                                                                          <ĞŶƵƌƚŽŶ͕:ƌ͕͘DĂŶĂƚĞĞŽƵŶƚǇdĂǆ     ϭϬϬϭϯƌĚǀĞt͕^ƵŝƚĞϮϰϬ
ŽƵŶƐĞůƚŽ<ĞŶƵƌƚŽŶ͕:ƌ͕͘DĂŶĂƚĞĞŽƵŶƚǇdĂǆŽůůĞĐƚŽƌ                  ŽůůĞĐƚŽƌ                                ƌĂŶĚĞŶƚŽŶ&>ϯϰϮϬϱͲϳϴϲϯ                                       ůĞŐĂůΛƚĂǆĐŽůůĞĐƚŽƌ͘ĐŽŵ                  ŵĂŝů

                                                                                                                   ƚƚŶ͗^ĐŽƚƚ͘ĂĐŚĞƌƚ
                                                                                                                   ϭϰϭϭ^ĐŽƚƚƐǀŝůůĞZŽĂĚ
ŽƵŶƐĞůƚŽ&ƌŽŶƚŝĞƌĞůŝƌ>>͕&ƌŽŶƚŝĞƌĂŶŝĂ>>͕&ƌŽŶƚŝĞƌKƐĐĞŽůĂ>>͕                                        W͘K͘Žǆϵϱϰϳ
&ƌŽŶƚŝĞƌŽǀĞƌ>>͕&ƌŽŶƚŝĞƌ<ŝƐƐŝŵŵĞĞ>>                                  <ĞƌƌŝĐŬĂĐŚĞƌƚW^                    ŽǁůŝŶŐ'ƌĞĞŶ<zϰϮϭϬϮͲϵϱϰϳ                                                                             &ŝƌƐƚůĂƐƐDĂŝů

                                                                                                                   ƚƚŶ͗:͘ĂŶŝĞůůďĞƌƚ͕DŝĐŚĂĞůDĐƵƚĐŚĞŽŶ
ŽƵŶƐĞůƚŽƌŝĂŶ'ĂůĞ͕DĂƌŬEŽďůĞ͕dĞƌƌǇWŚŝůŝƉƉĂƐ͕ĂŶĚ>ĂǁƌĞŶĐĞĂƐƐ͕                                            ϮϴϬ<ŝŶŐŽĨWƌƵƐƐŝĂZĚ
ĂŶĚ&ŽƌŵĞƌ^ƚŽĐŬŚŽůĚĞƌƐ                                                <ĞƐƐůĞƌdŽƉĂĐDĞůƚǌĞƌΘŚĞĐŬ>>W          ZĂĚŶŽƌWϭϵϬϴϳ                                                ĚĂůďĞƌƚΛŬƚŵĐ͘ĐŽŵ                         ŵĂŝů

                                                                                                                   ƚƚŶ͗:ŽƐŚƵĂ͘^ƵƐƐďĞƌŐ͕W͘͕͘EŝĐŽůĞ>͘'ƌĞĞŶďůĂƚƚ͕W͘͕͘
                                                                                                                   ĞƌĞŬ/͘,ƵŶƚĞƌ                                                ũŽƐŚƵĂ͘ƐƵƐƐďĞƌŐΛŬŝƌŬůĂŶĚ͘ĐŽŵ
                                                                                                                   ϲϬϭ>ĞǆŝŶŐƚŽŶǀĞŶƵĞ                                           ŶŝĐŽůĞ͘ŐƌĞĞŶďůĂƚƚΛŬŝƌŬůĂŶĚ͘ĐŽŵ
ŽƵŶƐĞůƚŽĞďƚŽƌƐĂŶĚĞďƚŽƌƐ/ŶWŽƐƐĞƐƐŝŽŶ                              <ŝƌŬůĂŶĚΘůůŝƐ>>W                     EĞǁzŽƌŬEzϭϬϬϮϮ                                              ĚĞƌĞŬ͘ŚƵŶƚĞƌΛŬŝƌŬůĂŶĚ͘ĐŽŵ                ŵĂŝů

                                                                                                                   ƚƚŶ͗DĂƌŬDĐ<ĂŶĞ͕W͘͘
                                                                                                                   ϱϱϱĂůŝĨŽƌŶŝĂ^ƚƌĞĞƚ
ŽƵŶƐĞůƚŽĞďƚŽƌƐĂŶĚĞďƚŽƌƐ/ŶWŽƐƐĞƐƐŝŽŶ                              <ŝƌŬůĂŶĚΘůůŝƐ>>W                     ^ĂŶ&ƌĂŶĐŝƐĐŽϵϰϭϬϭ                                         ŵ
                                                                                                                                                                                   ĂƌŬ͘ŵĐŬĂŶĞΛŬŝƌŬůĂŶĚ͘ĐŽŵ                ŵĂŝů

                                                                                                                   ƚƚŶ͗ŽŵĞŶŝĐ͘WĂĐŝƚƚŝ
ŽƵŶƐĞůƚŽůƵĞKǁůZĞĂůƐƚĂƚĞĂƉŝƚĂů>>͕WŽƌƚĨŽůŝŽKǁŶĞƌ>>͕                                            ϵϭϵE͘DĂƌŬĞƚ^ƚƌĞĞƚ͕^ƵŝƚĞϭϬϬϬ
ĂŶĚ,YKǁŶĞƌ>>                                                      <ůĞŚƌ,ĂƌƌŝƐŽŶ,ĂƌǀĞǇƌĂŶǌďƵƌŐ>>W        tŝůŵŝŶŐƚŽŶϭϵϴϬϭͲϯϬϲϮ                                       Ě
                                                                                                                                                                                   ƉĂĐŝƚƚŝΛŬůĞŚƌ͘ĐŽŵ                      ŵĂŝů

                                                                                                                   ƚƚŶ͗DŽƌƚŽŶZ͘ƌĂŶǌďƵƌŐ
ŽƵŶƐĞůƚŽůƵĞKǁůZĞĂůƐƚĂƚĞĂƉŝƚĂů>>͕WŽƌƚĨŽůŝŽKǁŶĞƌ>>͕                                            ϭϴϯϱDĂƌŬĞƚ^ƚƌĞĞƚ͕^ƵŝƚĞϭϰϬϬ
ĂŶĚ,YKǁŶĞƌ>>                                                      <ůĞŚƌ,ĂƌƌŝƐŽŶ,ĂƌǀĞǇƌĂŶǌďƵƌŐ>>W        WŚŝůĂĚĞůƉŚŝĂWϭϵϭϬϯ                                          ŵďƌĂŶǌďƵƌŐΛŬůĞŚƌ͘ĐŽŵ                     ŵĂŝů

                                                                                                                   ƚƚŶ͗:ĞĨĨƌĞǇ<ƵƌƚǌŵĂŶ
                                                                                                                   ϭϬϭE͘tĂƐŚŝŶŐƚŽŶǀĞŶƵĞ
                                                                                                                   ^ƵŝƚĞϰ
ŽƵŶƐĞůƚŽKǆĨŽƌĚsĂůůĞǇZŽĂĚƐƐŽĐŝĂƚĞƐ͕>͘W͘                            <ƵƌƚǌŵĂŶ^ƚĞĂĚǇ>>                      DĂƌŐĂƚĞE:ϬϴϰϬϮ                                               ŬƵƌƚǌŵĂŶΛŬƵƌƚǌŵĂŶƐƚĞĂĚǇ͘ĐŽŵ              ŵĂŝů


                                                                                                                   ƚƚŶ͗ĚĂŵ'͘>ĂŶĚŝƐ͕DĂƚƚDĐ'ƵŝƌĞ͕ůŝǌĂďĞƚŚZŽŐĞƌƐ
                                                                                                                   ϵϭϵDĂƌŬĞƚ^ƚƌĞĞƚ^ƵŝƚĞϭϴϬϬ                                   ůĂŶĚŝƐΛůƌĐůĂǁ͘ĐŽŵ
                                                                                                                   W͘K͘ŽǆϮϬϴϳ                                                  ŵĐŐƵŝƌĞΛůƌĐůĂǁ͘ĐŽŵ
ŽƵŶƐĞůƚŽƚŚĞĚ,ŽĐ'ƌŽƵƉŽĨ&ŝƌƐƚ>ŝĞŶ>ĞŶĚĞƌƐĂŶĚ/W>ĞŶĚĞƌƐ         >ĂŶĚŝƐZĂƚŚΘŽďď>>W                   tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                            ĞƌŽŐĞƌƐΛůƌĐůĂǁ͘ĐŽŵ                       &ŝƌƐƚůĂƐƐDĂŝůĂŶĚŵĂŝů




         /ŶƌĞ͗&ƌĂŶĐŚŝƐĞ'ƌŽƵƉ͕/ŶĐ͕͘ĞƚĂů͘
         ĂƐĞEŽ͘ϮϰͲϭϮϰϴϬ;>^^Ϳ                                                                                         WĂŐĞϲŽĨϭϱ
                                                                     Case 24-12480-LSS                          Doc 1190               Filed 03/27/25               Page 10 of 22
                                                                                                                             ǆŚŝďŝƚ
                                                                                                                        ŽƌĞͬϮϬϬϮ^ĞƌǀŝĐĞ>ŝƐƚ
                                                                                                                       ^ĞƌǀĞĚĂƐƐĞƚĨŽƌƚŚďĞůŽǁ

                                  ^Z/Wd/KE                                                ED                                                  Z^^                                         D/>          Dd,KK&^Zs/

                                                                                                                       ƚƚŶ͗ŶĚƌĞǁ^ŽƌŬŝŶ
                                                                                                                       ϱϱϱůĞǀĞŶƚŚ^ƚƌĞĞƚEt
                                                                                                                       ^ƵŝƚĞϭϬϬϬ
ŽƵŶƐĞůƚŽ:WDŽƌŐĂŶŚĂƐĞĂŶŬ͕E͘͕͘ĂƐWƌĞƉĞƚŝƚŝŽŶ>ŐĞŶƚ            >ĂƚŚĂŵΘtĂƚŬŝŶƐ>>W                         tĂƐŚŝŶŐƚŽŶϮϬϬϬϰ                                    ĂŶĚƌĞǁ͘ƐŽƌŬŝŶΛůǁ͘ĐŽŵ             ŵĂŝů

                                                                                                                       ƚƚŶ͗:ĂŵĞƐ<ƐƚĂŶĞƐ͕dŝŵŽƚŚǇĞĂƵWĂƌŬĞƌ
                                                                                                                       ϯϯϬEtĂďĂƐŚǀĞŶƵĞ
                                                                                                                       ^ƵŝƚĞϮϴϬϬ                                             ũĂŵĞƐ͘ŬƚƐĂŶĞƐΛůǁ͘ĐŽŵ
ŽƵŶƐĞůƚŽ:WDŽƌŐĂŶŚĂƐĞĂŶŬ͕E͘͕͘ĂƐWƌĞƉĞƚŝƚŝŽŶ>ŐĞŶƚ            >ĂƚŚĂŵΘtĂƚŬŝŶƐ>>W                         ŚŝĐĂŐŽ/>ϲϬϲϭϭĂŶĂĚĂ                                ďĞĂƵ͘ƉĂƌŬĞƌΛůǁ͘ĐŽŵ              ŵĂŝů

                                                                                                                       ƚƚŶ͗:ĞŶŶŝĨĞƌǌƌŝŶŐ͕:ĂŵĞƐ<ƚƐĂŶĞƐ͕ŶĚƌĞǁ^ŽƌŬŝŶ   :ĞŶŶŝĨĞƌ͘ǌƌŝŶŐΛůǁ͘ĐŽŵ
                                                                                                                       ϭϮϳϭǀĞŶƵĞŽĨƚŚĞŵĞƌŝĐĂƐ                            :ĂŵĞƐ͘<ƚƐĂŶĞƐΛůǁ͘ĐŽŵ
ŽƵŶƐĞůƚŽƚŚĞ>^ĞĐƵƌĞĚWĂƌƚŝĞƐ                                       >ĂƚŚĂŵΘtĂƚŬŝŶƐ>>W                         EĞǁzŽƌŬEzϭϬϬϮϬ                                      ĂŶĚƌĞǁ͘ƐŽƌŬŝŶΛůǁ͘ĐŽŵ             &ŝƌƐƚůĂƐƐDĂŝůĂŶĚŵĂŝů

ŽƵŶƐĞůƚŽWŽƌƚĨŽůŝŽKǁŶĞƌ>>͕,YKǁŶĞƌ>>͕ƌŽŽŬĨŝĞůĚ
WƌŽƉĞƌƚŝĞƐZĞƚĂŝů͕/ŶĐ͕͘ƵƌďůŝŶĞWƌŽƉĞƌƚŝĞƐŽƌƉ͕͘&ŝƌƐƚtĂƐŚŝŶŐƚŽŶ
ZĞĂůƚǇ͕'WŽŽŵ>>͕:>>WƌŽƉĞƌƚǇDĂŶĂŐĞŵĞŶƚ;&ƌĂŶŬůŝŶDĂůůͿ͕<ŝƚĞ
ZĞĂůƚǇ'ƌŽƵƉ͕>͘W͕͘EEEZ/d͕/ŶĐ͕͘ZĞŐĞŶĐǇĞŶƚĞƌƐ͕>͘W͕͘^ŚĂŵƌŽĐŬ͘                                                ƚƚŶ͗^ƵƐĂŶ͘<ĂƵĨĂŶ
KǁŶĞƌ>>͕ĂŶĚ^/dĞŶƚĞƌƐŽƌƉ͕͘D:<ZĞĂůƐƚĂƚĞ,ŽůĚŝŶŐŽŵƉĂŶǇ͕                                                   ϵϭϵE͘DĂƌŬĞƚ^ƚƌĞĞƚ͕^ƵŝƚĞϰϲϬ
>>                                                                     >ĂǁKĨĨŝĐĞŽĨ^ƵƐĂŶ͘<ĂƵĨŵĂŶ                 tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                    ƐŬĂƵĨŵĂŶΛƐŬĂƵĨŵĂŶůĂǁ͘ĐŽŵ         ŵĂŝů

                                                                                                                       ƚƚŶ͗ŝĂŶĞt͘^ĂŶĚĞƌƐ
ŽƵŶƐĞůƚŽEƵĞĐĞƐŽƵŶƚǇ͕DĐůĞŶŶĂŶŽƵŶƚǇ͕<ĞƌƌŽƵŶƚǇ͕,ŝĚĂůŐŽ                                                       WKŽǆϭϳϰϮϴ
ŽƵŶƚǇ͕ŝƚǇŽĨDĐůůĞŶ                                                   >ŝŶĞďĂƌŐĞƌ'ŽŐŐĂŶůĂŝƌΘ^ĂŵƉƐŽŶ͕>>W       ƵƐƚŝŶdyϳϴϳϲϬͲϳϰϮϴ                                   Ă ƵƐƚŝŶ͘ďĂŶŬƌƵƉƚĐǇΛůŐďƐ͘ĐŽŵ     ŵĂŝů

                                                                                                                       ƚƚŶ͗ŽŶ^ƚĞĐŬĞƌ
                                                                                                                       ϭϭϮ͘WĞĐĂŶ^ƚƌĞĞƚ͕^ƵŝƚĞϮϮϬϬ
ŽƵŶƐĞůƚŽĞǆĂƌŽƵŶƚǇ͕ŝƚǇŽĨůWĂƐŽ                                  >ŝŶĞďĂƌŐĞƌ'ŽŐŐĂŶůĂŝƌΘ^ĂŵƉƐŽŶ͕>>W       ^ĂŶŶƚŽŶŝŽdyϳϴϮϬϱ                                   ƐĂŶĂŶƚŽŶŝŽ͘ďĂŶŬƌƵƉƚĐǇΛůŐďƐ͘ĐŽŵ   ŵĂŝů

                                                                                                                       ƚƚŶ͗:ŽŚŶ<͘dƵƌŶĞƌ
                                                                                                                       ϮϳϳϳE͘^ƚĞŵŵŽŶƐ&ƌĞĞǁĂǇ
                                                                                                                       ^ƵŝƚĞϭϬϬϬ
ŽƵŶƐĞůƚŽĂůůĂƐŽƵŶƚǇ                                                  >ŝŶĞďĂƌŐĞƌ'ŽŐŐĂŶůĂŝƌΘ^ĂŵƉƐŽŶ͕>>W       ĂůůĂƐdyϳϱϮϬϳ                                        Ě
                                                                                                                                                                               ĂůůĂƐ͘ďĂŶŬƌƵƉƚĐǇΛůŐďƐ͘ĐŽŵ      ŵĂŝů

ŽƵŶƐĞůƚŽ,ŽƉŬŝŶƐŽƵŶƚǇ͕<ĂƵĨŵĂŶŽƵŶƚǇ͕^ƵůƉŚƵƌ^ƉƌŝŶŐƐ/^͕
ZŽĐŬǁĂůů͕dĂƌƌĂŶƚŽƵŶƚǇ͕EĂǀĂƌƌŽŽƵŶƚǇ͕^ŵŝƚŚŽƵŶƚǇ͕ůůŝƐ
ŽƵŶƚǇ͕ŝƚǇŽĨ^ƵůƉŚƵƌ^ƉƌŝŶŐƐ͕tŝƐĞŽƵŶƚǇ͕dŽŵ'ƌĞĞŶ͕'ƌĂǇƐŽŶ                                                  ƚƚŶ͗:ŽŚŶ<ĞŶĚƌŝĐŬdƵƌŶĞƌ
ŽƵŶƚǇ͕'ƌĞŐŐŽƵŶƚǇ͕WƌŽƐƉĞƌ/^͕dŽǁŶŽĨWƌŽƐƉĞƌ͕ŝƚǇŽĨĂƌƌŽůůƚŽŶ͕                                               ϯϱϬϬDĂƉůĞǀĞŶƵĞ
EŽƌƚŚǁĞƐƚ/^͕ŝƚǇŽĨůůĞŶ͕ŝƚǇŽĨtǇůŝĞ͕>ĞǁŝƐǀŝůůĞ/^͕ůůĞŶ/^͕ŝƚǇ                                          ^ƵŝƚĞϴϬϬ
ŽĨ&ƌŝƐĐŽ͕/ƌǀŝŶŐ/^͕WĂƌŬĞƌ                                             >ŝŶĞďĂƌŐĞƌ'ŽŐŐĂŶůĂŝƌΘ^ĂŵƉƐŽŶ͕>>W   ĂůůĂƐdyϳϱϮϭϵ                                        Ě
                                                                                                                                                                               ĂůůĂƐ͘ďĂŶŬƌƵƉƚĐǇΛůŐďƐ͘ĐŽŵ      ŵĂŝů

ŽƵŶƐĞůƚŽǇƉƌĞƐƐͲ&ĂŝƌďĂŶŬƐ/^͕,ĂƌƌŝƐŽƵŶƚǇ͕'ĂůǀĞƐƚŽŶŽƵŶƚǇ͕
DŽŶƚŐŽŵĞƌǇŽƵŶƚǇ͕&ŽƌĚĞŶĚŽƵŶƚǇ͕<ĂƚǇ/^͕,ĂƌƌŝƐK^ηϬϴ͕
ŝƚǇŽĨ,ŽƵƐƚŽŶ͕DŽŶƚŐŽŵĞƌǇŽƵŶƚǇ͕,ĂƌƌŝƐK^ηϰϴ͕>ŽŶĞ^ƚĂƌ
ŽůůĞŐĞ^ǇƐƚĞŵ͕,ĂƌƌŝƐK^ηϭϲ͕,ĂƌƌŝƐK^ηϭϭ͕,ŽƵƐƚŽŶ/^͕
'ĂůǀĞƐƚŽŶŽƵŶƚǇ͕,ĂƌƌŝƐK^ηϬϵ͕ǇƉƌĞƐƐͲ&ĂŝƌďĂŶŬƐ/^͕ĞĞƌWĂƌŬ                                                ƚƚŶ͗dĂƌĂ>͘'ƌƵŶĚĞŵĞŝĞƌ
/^͕&ŽƌƚĞŶĚŽƵŶƚǇ͕,ŽƵƐƚŽŶŽŵŵŽůů^ǇƐƚĞŵ͕ŝƚǇŽĨWĂƐĂĚĞŶĂ͕                                                    WKŽǆϯϬϲϰ
:ĞĨĨĞƌƐŽŶŽƵŶƚǇ                                                        >ŝŶĞďĂƌŐĞƌ'ŽŐŐĂŶůĂŝƌΘ^ĂŵƉƐŽŶ͕>>W         ,ŽƵƐƚŽŶdyϳϳϮϱϯͲϯϬϲϰ                                  ŚŽƵƐƚŽŶͺďĂŶŬƌƵƉƚĐǇΛůŐďƐ͘ĐŽŵ      ŵĂŝů




         /ŶƌĞ͗&ƌĂŶĐŚŝƐĞ'ƌŽƵƉ͕/ŶĐ͕͘ĞƚĂů͘
         ĂƐĞEŽ͘ϮϰͲϭϮϰϴϬ;>^^Ϳ                                                                                             WĂŐĞϳŽĨϭϱ
                                                                    Case 24-12480-LSS                         Doc 1190               Filed 03/27/25                Page 11 of 22
                                                                                                                           ǆŚŝďŝƚ
                                                                                                                      ŽƌĞͬϮϬϬϮ^ĞƌǀŝĐĞ>ŝƐƚ
                                                                                                                     ^ĞƌǀĞĚĂƐƐĞƚĨŽƌƚŚďĞůŽǁ

                                  ^Z/Wd/KE                                              ED                                                  Z^^                                         D/>       Dd,KK&^Zs/

ŽƵŶƐĞůƚŽtŽŽĚďŽůƚŝƐƚƌŝďƵƚŝŽŶ͕>>͕'ůĂŶďŝĂWĞƌĨŽƌŵĂŶĐĞEƵƚƌŝƚŝŽŶ͕                                               ƚƚŶ͗DŝĐŚĂĞů^͘ƚŬŝŶ͕DŝĐŚĂĞůWĂƉĂŶĚƌĞĂ
/ŶĐ͕͘^ƵŶǁĂƌƌŝŽƌsĞŶƚƵƌĞƐ>>ĚͬďͬĂ^ƵŶǁĂƌƌŝŽƌ>>ĂŶĚ^ƵŶƌŽƚŚĞƌƐ͕                                                KŶĞ>ŽǁĞŶƐƚĞŝŶƌŝǀĞ                                    ŵĞƚŬŝŶΛůŽǁĞŶƐƚĞŝŶ͘ĐŽŵ
>>                                                                    >ŽǁĞŶƐƚĞŝŶ^ĂŶĚůĞƌ>>W                        ZŽƐĞůĂŶĚE:ϬϳϬϲϴ                                       ŵƉĂƉĂŶĚƌĞĂΛůŽǁĞŶƐƚĞŝŶ͘ĐŽŵ     ŵĂŝů

                                                                                                                     ƚƚŶ͗>ŝƐĂ^͘ŽŶƐĂůů
                                                                                                                     &ŽƵƌ'ĂƚĞǁĂǇĞŶƚĞƌ
                                                                                                                     ϭϬϬDƵůďĞƌƌǇ^ƚƌĞĞƚ
ŽƵŶƐĞůƚŽ,ĞƌŝƚĂŐĞ^ĞǇŵŽƵƌ/͕>>ĂŶĚ,ĞƌŝƚĂŐĞ^ĞǇŵŽƵƌ//͕>>          DĐĂƌƚĞƌΘŶŐůŝƐŚ͕>>W                     EĞǁĂƌŬE:ϬϳϭϬϮ                                         ůďŽŶƐĂůůΛŵĐĐĂƌƚĞƌ͘ĐŽŵ        ŵĂŝů

                                                                                                                     ƚƚŶ͗^ŚĂŶŶŽŶ͘,ƵŵŝƐƚŽŶ͕<ĂƚĞZŽŐŐŝŽƵĐŬ͕DĂůŝŚĞŚ
                                                                                                                     ĂƌĞ
ŽƵŶƐĞůƚŽ,ĞƌŝƚĂŐĞ^ĞǇŵŽƵƌ/͕>>ĂŶĚ,ĞƌŝƚĂŐĞ^ĞǇŵŽƵƌ//͕>>͕                                                    ZĞŶĂŝƐƐĂŶĐĞĞŶƚƌĞ                                      ƐŚƵŵŝƐƚŽŶΛŵĐĐĂƌƚĞƌ͘ĐŽŵ
^ŚĞůďǇǀŝůůĞZŽĂĚWůĂǌĂ͕>>͕>ŝĐŚƚĞĨĞůĚĞǀĞůŽƉŵĞŶƚdƌƵƐƚ͕>ŝĐŚƚĞĨĞůĚ                                               ϰϬϱE͘<ŝŶŐ^ƚƌĞĞƚ͕ϴƚŚ&ůŽŽƌ                           ŬďƵĐŬΛŵĐĐĂƌƚĞƌ͘ĐŽŵ
WƌŽƉĞƌƚŝĞƐ>>                                                          DĐĂƌƚĞƌΘŶŐůŝƐŚ͕>>W                     tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                     ŵǌĂƌĞΛŵĐĐĂƌƚĞƌ͘ĐŽŵ            ŵĂŝů


ŽƵŶƐĞůƚŽdĂǆƉƉƌĂŝƐĂůŝƐƚƌŝĐƚŽĨĞůůŽƵŶƚǇ͕ƌĂǌŽƐŽƵŶƚǇ͕ƵƌŶĞƚ
ĞŶƚƌĂůƉƉƌĂŝƐĂůŝƐƚƌŝĐƚ͕ŽǁŝĞĞŶƚƌĂůƉƉƌĂŝƐĂůŝƐƚƌŝĐƚ͕ĞŶƚŽŶ
ŽƵŶƚǇ͕'ƵĂĚĂůƵƉĞŽƵŶƚǇ͕,ĂǇƐŽƵŶƚǇ͕DŝĚůĂŶĚĞŶƚƌĂůƉƉƌĂŝƐĂů                                                    ƚƚŶ͗:ƵůŝĞŶŶĞWĂƌƐŽŶƐ
ŝƐƚƌŝĐƚ͕ŝƚǇŽĨtĂĐŽͬtĂĐŽ/ŶĚĞƉĞŶĚĞŶƚ^ĐŚŽŽůŝƐƚƌŝĐƚͬ>ĂsĞŐĂ                                                     ϳϬϬ:ĞĨĨƌĞǇtĂǇ͕^ƵŝƚĞϭϬϬ
/ŶĚĞƉĞŶĚĞŶƚ^ĐŚŽŽůŝƐƚƌŝĐƚ͕ĂŶĚtŝůůŝĂŵƐŽŶŽƵŶƚǇ                       DĐƌĞĂƌǇ͕sĞƐĞůŬĂ͕ƌĂŐŐ͕ΘůůĞŶ͕W͘͘     ZŽƵŶĚZŽĐŬdyϳϴϲϲϱ                                     ũƉĂƌƐŽŶƐΛŵǀďĂůĂǁ͘ĐŽŵ         ŵĂŝů


ŽƵŶƐĞůƚŽdĂǆƉƉƌĂŝƐĂůŝƐƚƌŝĐƚŽĨĞůůŽƵŶƚǇ͕ƌĂǌŽƐŽƵŶƚǇ͕ƵƌŶĞƚ
ĞŶƚƌĂůƉƉƌĂŝƐĂůŝƐƚƌŝĐƚ͕ŽǁŝĞĞŶƚƌĂůƉƉƌĂŝƐĂůŝƐƚƌŝĐƚ͕ĞŶƚŽŶ
ŽƵŶƚǇ͕'ƵĂĚĂůƵƉĞŽƵŶƚǇ͕,ĂǇƐŽƵŶƚǇ͕DŝĚůĂŶĚĞŶƚƌĂůƉƉƌĂŝƐĂů                                                    ƚƚŶ͗:ƵůŝĞŶŶĞWĂƌƐŽŶƐ
ŝƐƚƌŝĐƚ͕ŝƚǇŽĨtĂĐŽͬtĂĐŽ/ŶĚĞƉĞŶĚĞŶƚ^ĐŚŽŽůŝƐƚƌŝĐƚͬ>ĂsĞŐĂ                                                     W͘K͘ŽǆϭϮϲϵ
/ŶĚĞƉĞŶĚĞŶƚ^ĐŚŽŽůŝƐƚƌŝĐƚ͕ĂŶĚtŝůůŝĂŵƐŽŶŽƵŶƚǇ                       DĐƌĞĂƌǇ͕sĞƐĞůŬĂ͕ƌĂŐŐ͕ΘůůĞŶ͕W͘͘     ZŽƵŶĚZŽĐŬdyϳϴϲϴϬͲϭϮϲϵ                                ũƉĂƌƐŽŶƐΛŵǀďĂůĂǁ͘ĐŽŵ         ŵĂŝů

                                                                                                                     ƚƚŶ͗ĂǀŝĚ͘^ŚĂƉŝƌŽ
                                                                                                                     ϯϯE͘>Ă^ĂůůĞ^ƚƌĞĞƚ
                                                                                                                     ^ƵŝƚĞϭϰϬϬ                                              ĚƐŚĂƉŝƌŽΛŵĐŬĞŶŶĂͲůĂǁ͘ĐŽŵ
ŽƵŶƐĞůƚŽWĂƌŵ'ŽůĨĞŶƚĞƌ>>                                          DĐ<ĞŶŶĂ^ƚŽƌĞƌ                              ŚŝĐĂŐŽ/>ϲϬϲϬϮ                                        ƐĞƌǀŝĐĞΛŵĐŬĞŶŶĂͲůĂǁ͘ĐŽŵ       ŵĂŝů

                                                                                                                     ƚƚŶ͗EŝĐŽůĞ͘<ĞŶǁŽƌƚŚǇ
                                                                                                                     ϲϴϬϭ<ĞŶŝůǁŽƌƚŚǀĞŶƵĞ͕^ƵŝƚĞϰϬϬ
ŽƵŶƐĞůƚŽWƌŝŶĐĞ'ĞŽƌŐĞΖƐŽƵŶƚǇ͕DĂƌǇůĂŶĚ                              DĞǇĞƌƐ͕ZŽĚďĞůůΘZŽƐĞŶďĂƵŵ͕W͘͘           ZŝǀĞƌĚĂůĞDϮϬϳϯϳͲϭϯϴϱ                                 ď
                                                                                                                                                                              ĚĞƉƚΛŵƌƌůĂǁ͘ŶĞƚ             ŵĂŝů

                                                                                                                     ƚƚŶ͗:ŽƐĞƉŚ,͘ĂůĚŝŐĂ͕^ŚĂŶŶĂŚ>͘ŽůďĞƌƚ
                                                                                                                     ϭϴϬϬtĞƐƚWĂƌŬƌ͕͘^ƵŝƚĞϰϬϬ                           ũďĂůĚŝŐĂΛŵŝƌŝĐŬŽĐŽŶŶĞůů͘ĐŽŵ
ŽƵŶƐĞůƚŽEĞǁtĞƐƚŐĂƚĞDĂůů>>                                         DŝƌŝĐŬ͕K͛ŽŶŶĞůů͕ĞDĂůůŝĞΘ>ŽƵŐĞĞ͕>>W   tĞƐƚďŽƌŽƵŐŚDϬϭϱϴϭ                                    ƐĐŽůďĞƌƚΛŵŝƌŝĐŬŽĐŽŶŶĞůů͘ĐŽŵ   ŵĂŝů

                                                                                                                     ƚƚŶ͗ZĂĐŚĞů͘DĞƌƐŬǇ
                                                                                                                     ϭϮϬϭE͘KƌĂŶŐĞ^ƚƌĞĞƚ͕^ƵŝƚĞϰϬϬ
ŽƵŶƐĞůƚŽ<ŝŵĐŽZĞĂůƚǇŽƌƉŽƌĂƚŝŽŶ͕ϮϮϬϱ&ĞĚĞƌĂů/ŶǀĞƐƚŽƌƐ͕>>         DŽŶǌĂĐŬDĞƌƐŬǇĂŶĚƌŽǁĚĞƌ͕W͘͘            tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                     ƌ ŵĞƌƐŬǇΛŵŽŶůĂǁ͘ĐŽŵ          ŵĂŝů




         /ŶƌĞ͗&ƌĂŶĐŚŝƐĞ'ƌŽƵƉ͕/ŶĐ͕͘ĞƚĂů͘
         ĂƐĞEŽ͘ϮϰͲϭϮϰϴϬ;>^^Ϳ                                                                                           WĂŐĞϴŽĨϭϱ
                                                                Case 24-12480-LSS                         Doc 1190             Filed 03/27/25                  Page 12 of 22
                                                                                                                     ǆŚŝďŝƚ
                                                                                                                ŽƌĞͬϮϬϬϮ^ĞƌǀŝĐĞ>ŝƐƚ
                                                                                                               ^ĞƌǀĞĚĂƐƐĞƚĨŽƌƚŚďĞůŽǁ

                                  ^Z/Wd/KE                                           ED                                               Z^^                                               D/>               Dd,KK&^Zs/

                                                                                                                ƚƚŶ͗ŚƌŝƐƚŽƉŚĞƌ>͘ĂƌƚĞƌ
                                                                                                                KŶĞ&ĞĚĞƌĂů^ƚƌĞĞƚ
ŽƵŶƐĞůƚŽĂŶŬŽĨŵĞƌŝĐĂ͕E͘͕͘ĂƐWƌĞƉĞƚŝƚŝŽŶ>ŐĞŶƚ           DŽƌŐĂŶ͕>ĞǁŝƐΘŽĐŬŝƵƐ>>W                ŽƐƚŽŶDϬϮϭϭϬͲϭϳϮϲ                                        Đ ŚƌŝƐƚŽƉŚĞƌ͘ĐĂƌƚĞƌΛŵŽƌŐĂŶůĞǁŝƐ͘ĐŽŵ   ŵĂŝů

                                                                                                                ƚƚŶ͗ĂǀŝĚ<͘^Śŝŵ
                                                                                                                KŶĞ^ƚĂƚĞ^ƚƌĞĞƚ
ŽƵŶƐĞůƚŽĂŶŬŽĨŵĞƌŝĐĂ͕E͘͕͘ĂƐWƌĞƉĞƚŝƚŝŽŶ>ŐĞŶƚ           DŽƌŐĂŶ͕>ĞǁŝƐΘŽĐŬŝƵƐ>>W                ,ĂƌƚĨŽƌĚdϬϲϭϬϯͲϯϭϳϴ                                      Ě
                                                                                                                                                                             ĂǀŝĚ͘ƐŚŝŵΛŵŽƌŐĂŶůĞǁŝƐ͘ĐŽŵ            ŵĂŝů

                                                                                                                ƚƚŶ͗ĂƌůE͘<ƵŶǌ͕///͕ŚƌŝƐƚŽƉŚĞƌD͘ŽŶŶĞůůǇ
ŽƵŶƐĞůĨŽƌZ'ͲW^ĂŵƉƌĞĞŬKǁŶĞƌ͕>>͕hŶŝǀĞƌƐŝƚǇZĞĂůƚǇ                                                   ϱϬϬĞůĂǁĂƌĞǀĞŶƵĞ͕^ƵŝƚĞϭϱϬϬ                             ĐŬƵŶǌΛŵŽƌƌŝƐũĂŵĞƐ͘ĐŽŵ
ƐƐŽĐŝĂƚĞƐ͕>>                                                      DŽƌƌŝƐ:ĂŵĞƐ>>W                           tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                         ĐĚŽŶŶĞůůǇΛŵŽƌƌŝƐũĂŵĞƐ͘ĐŽŵ              ŵĂŝů

                                                                                                                ƚƚŶ͗ĞďŽƌĂŚD͘WĞƌƌǇ
                                                                                                                ϱϬϬE͘ŬĂƌĚ^ƚƌĞĞƚ
                                                                                                                ^ƵŝƚĞϰϬϬϬ
ŽƵŶƐĞůƚŽǆĐŚĂŶŐĞ^ĂůƚWŽŶĚ                                     DƵŶƐĐŚ,ĂƌĚƚ<ŽƉĨΘ,Ăƌƌ͕W͘͘             ĂůůĂƐdyϳϱϮϬϭͲϲϲϱϵ                                        ĚƉĞƌƌǇΛŵƵŶƐĐŚ͘ĐŽŵ                      ŵĂŝů

                                                                                                                ƚƚŶ͗dŝŵŽƚŚǇ:͘&Žǆ͕ƐƋ
                                                                                                                ϴϰϰ<ŝŶŐ^ƚƌĞĞƚ͕^ƵŝƚĞϮϮϬϳ

                                                                     KĨĨŝĐĞŽĨƚŚĞhŶŝƚĞĚ^ƚĂƚĞƐdƌƵƐƚĞĞĨŽƌƚŚĞ >ŽĐŬďŽǆϯϱ
hŶŝƚĞĚ^ƚĂƚĞƐdƌƵƐƚĞĞĨŽƌƚŚĞŝƐƚƌŝĐƚŽĨĞůĂǁĂƌĞ                   ŝƐƚƌŝĐƚŽĨĞůĂǁĂƌĞ                         tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                       ƚŝŵŽƚŚǇ͘ĨŽǆΛƵƐĚŽũ͘ŐŽǀ                  ŵĂŝů

                                                                                                                ƚƚŶ͗ƌŝĂŶ:͘DĐ>ĂƵŐŚůŝŶ
                                                                                                                ϮϮϮĞůĂǁĂƌĞǀĞŶƵĞ
                                                                                                                ^ƵŝƚĞϭϭϬϱ
ŽƵŶƐĞůƚŽZŽĐŬĨŝƌŵ͕>>                                             KĨĨŝƚ<ƵƌŵĂŶ͕W                           tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                         ƌŝĂŶ͘DĐ>ĂƵŐŚůŝŶΛŽĨĨŝƚŬƵƌŵĂŶ͘ĐŽŵ       ŵĂŝů

                                                                                                                ƚƚŶ͗dĂŵŵǇ:ŽŶĞƐ
                                                                                                                ϯϮϬZŽďĞƌƚ^͘<Ğƌƌ
                                                                                                                ZŽŽŵϯϬϳ
ŽƵŶƐĞůƚŽKŬůĂŚŽŵĂŽƵŶƚǇdƌĞĂƐƵƌĞƌ                                 KŬůĂŚŽŵĂŽƵŶƚǇdƌĞĂƐƵƌĞƌ                  KŬůĂŚŽŵĂŝƚǇK<ϳϯϭϬϮ                                      ƚĂŵŵǇ͘ũŽŶĞƐΛŽŬůĂŚŽŵĂĐŽƵŶƚǇ͘ŽƌŐ         ŵĂŝů

                                                                                                                ƚƚŶ͗ƌĂĚĨŽƌĚ:͘^ĂŶĚůĞƌ͕ŽůŝŶZ͘ZŽďŝŶƐŽŶ
                                                                                                                ϵϭϵEŽƌƚŚDĂƌŬĞƚ^ƚƌĞĞƚ͕ϭϳƚŚ&ůŽŽƌ
                                                                                                                W͘K͘ŽǆϴϳϬϱ                                               ďƐĂŶĚůĞƌΛƉƐǌũůĂǁ͘ĐŽŵ
ŽƵŶƐĞůƚŽƚŚĞKĨĨŝĐŝĂůŽŵŵŝƚƚĞĞŽĨhŶƐĞĐƵƌĞĚƌĞĚŝƚŽƌƐ             WĂĐŚƵůƐŬŝ^ƚĂŶŐŝĞŚůΘ:ŽŶĞƐ>>W          tŝůŵŝŶŐƚŽŶϭϵϴϵϵͲϴϳϬϱ                                    ĐƌŽďŝŶƐŽŶΛƉƐǌũůĂǁ͘ĐŽŵ                  ŵĂŝů

                                                                                                                ƚƚŶ͗ZŽďĞƌƚ:͘&ĞŝŶƐƚĞŝŶ͕ůĂŶ:͘<ŽƌŶĨĞůĚ͕dŚĞŽĚŽƌĞ^͘
                                                                                                                ,ĞĐŬĞů                                                      ƌĨĞŝŶƐƚĞŝŶΛƉƐǌũůĂǁ͘ĐŽŵ
                                                                                                                ϳϴϬdŚŝƌĚǀĞŶƵĞ͕ϯϰƚŚ&ůŽŽƌ                                ĂŬŽƌŶĨĞůĚΛƉƐǌũůĂǁ͘ĐŽŵ
ŽƵŶƐĞůƚŽƚŚĞKĨĨŝĐŝĂůŽŵŵŝƚƚĞĞŽĨhŶƐĞĐƵƌĞĚƌĞĚŝƚŽƌƐ             WĂĐŚƵůƐŬŝ^ƚĂŶŐŝĞŚůΘ:ŽŶĞƐ>>W          EĞǁzŽƌŬEzϭϬϬϭϳ                                           ƚŚĞĐŬĞůΛƉƐǌũůĂǁ͘ĐŽŵ                    ŵĂŝů

                                                                                                                ƚƚŶ͗:ŽƐĞƉŚ͘ĂƌƐĂůŽŶĂ//
                                                                                                                ϴϮϰEŽƌƚŚDĂƌŬĞƚ^ƚƌĞĞƚ
ŽƵŶƐĞůƚŽƌŝĂŶ'ĂůĞ͕DĂƌŬEŽďůĞ͕dĞƌƌǇWŚŝůŝƉƉĂƐ͕ĂŶĚ>ĂǁƌĞŶĐĞĂƐƐ͕                                         ^ƵŝƚĞϴϬϬ
ĂŶĚ&ŽƌŵĞƌ^ƚŽĐŬŚŽůĚĞƌƐ                                                WĂƐŚŵĂŶ^ƚĞŝŶtĂůĚĞƌ,ĂǇĚĞŶ͕W         tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                         ũďĂƌƐĂůŽŶĂΛƉĂƐŚŵĂŶƐƚĞŝŶ͘ĐŽŵ            ŵĂŝů




         /ŶƌĞ͗&ƌĂŶĐŚŝƐĞ'ƌŽƵƉ͕/ŶĐ͕͘ĞƚĂů͘
         ĂƐĞEŽ͘ϮϰͲϭϮϰϴϬ;>^^Ϳ                                                                                     WĂŐĞϵŽĨϭϱ
                                                                    Case 24-12480-LSS                       Doc 1190                 Filed 03/27/25             Page 13 of 22
                                                                                                                          ǆŚŝďŝƚ
                                                                                                                     ŽƌĞͬϮϬϬϮ^ĞƌǀŝĐĞ>ŝƐƚ
                                                                                                                    ^ĞƌǀĞĚĂƐƐĞƚĨŽƌƚŚďĞůŽǁ

                                  ^Z/Wd/KE                                              ED                                                 Z^^                                            D/>            Dd,KK&^Zs/

                                                                                                                    ƚƚŶ͗:ĂǇŵĞ'ŽůĚƐƚĞŝŶ͕:ĞƌĞŵǇǀĂŶƐ͕/ƐĂĂĐ^ĂƐƐŽŶ͕ĂŶŝĞů ũĂǇŵĞŐŽůĚƐƚĞŝŶΛƉĂƵůŚĂƐƚŝŶŐƐ͘ĐŽŵ
                                                                                                                    &ůŝŵĂŶ                                                     ũĞƌĞŵǇĞǀĂŶƐΛƉĂƵůŚĂƐƚŝŶŐƐ͘ĐŽŵ
                                                                                                                    ϮϬϬWĂƌŬǀĞŶƵĞ                                            ŝƐĂĂĐƐĂƐƐŽŶΛƉĂƵůŚĂƐƚŝŶŐƐ͘ĐŽŵ
ŽƵŶƐĞůƚŽƚŚĞĚ,ŽĐ'ƌŽƵƉŽĨ&ŝƌƐƚ>ŝĞŶ>ĞŶĚĞƌƐĂŶĚ/W>ĞŶĚĞƌƐ      WĂƵů,ĂƐƚŝŶŐƐ>>W                            EĞǁzŽƌŬEzϭϬϭϲϲ                                          ĚĂŶĨůŝŵĂŶΛƉĂƵůŚĂƐƚŝŶŐƐ͘ĐŽŵ        &ŝƌƐƚůĂƐƐDĂŝůĂŶĚŵĂŝů

                                                                                                                    ƚƚŶ͗EŝĐŚŽůĂƐ͘ĂƐƐĞƚƚ
                                                                                                                    ϮϬϱϬD^ƚƌĞĞƚEt
ŽƵŶƐĞůƚŽƚŚĞĚ,ŽĐ'ƌŽƵƉŽĨ&ŝƌƐƚ>ŝĞŶ>ĞŶĚĞƌƐĂŶĚ/W>ĞŶĚĞƌƐ      WĂƵů,ĂƐƚŝŶŐƐ>>W                            tĂƐŚŝŶŐƚŽŶϮϬϬϯϲ                                      ŶŝĐŚŽůĂƐďĂƐƐĞƚƚΛƉĂƵůŚĂƐƚŝŶŐƐ͘ĐŽŵ    ŵĂŝů

                                                                                                                    ƚƚŶ͗,ŝƌĂŵ'ƵƚŝĞƌƌĞǌ
                                                                       WĞƌĚƵĞ͕ƌĂŶĚŽŶ͕&ŝĞůĚĞƌ͕ŽůůŝŶƐΘDŽƚƚ͕   W͘K͘ŽǆϮϵϭϲ
ŽƵƐŶĞůƚŽƌŽǁŶƐǀŝůůĞ/ŶĚĞƉĞŶĚĞŶƚ^ĐŚŽŽůŝƐƚƌŝĐƚ                     >͘>͘W                                        DĐůůĞŶdyϳϴϱϬϮ                                         Ğ ĚŝŶďƵƌŐďĂŶŬƌƵƉƚĐǇΛƉďĨĐŵ͘ĐŽŵ      ŵĂŝů

                                                                                                                    ƚƚŶ͗>ĂƵƌĂ:͘DŽŶƌŽĞ
                                                                       WĞƌĚƵĞ͕ƌĂŶĚŽŶ͕&ŝĞůĚĞƌ͕ŽůůŝŶƐΘDŽƚƚ͕   WKŽǆϴϭϳ
ŽƵƐĞůƚŽ>ƵďďŽĐŬĞŶƚƌĂůƉƉƌĂŝƐĂůŝƐƚƌŝĐƚDŝĚůĂŶĚŽƵŶƚǇ            >͘>͘W                                        >ƵďďŽĐŬdyϳϵϰϬϴ                                         ůŵďŬƌΛƉďĨĐŵ͘ĐŽŵ                     ŵĂŝů

                                                                                                                    ƚƚŶ͗^ĞƌŐŝŽ͘'ĂƌĐŝĂ
                                                                                                                    ϯϯϬϭEŽƌƚŚůĂŶĚƌŝǀĞ
ŽƵŶƐĞůƚŽ<ĞƌƌǀŝůůĞ/ŶĚĞƉĞŶĚĞŶƚ^ĐŚŽŽůŝƐƚƌŝĐƚ͕ŽƉƉĞƌĂƐŽǀĞ       WĞƌĚƵĞ͕ƌĂŶĚŽŶ͕&ŝĞůĚĞƌ͕ŽůůŝŶƐΘDŽƚƚ͕   ^ƵŝƚĞϱϬϱ
/ŶĚĞƉĞŶĚĞŶƚ^ĐŚŽŽůŝƐƚƌŝĐƚ                                            >͘>͘W                                        ƵƐƚŝŶdyϳϴϳϯϭ                                          Ɛ ŐĂƌĐŝĂΛƉďĨĐŵ͘ĐŽŵ                 ŵĂŝů

                                                                                                                    ƚƚŶ͗DĞůŝƐƐĂ͘sĂůĚĞǌ
ŽƵŶƐĞůƚŽDĂŐŶŽůŝĂ/ŶĚĞƉĞŶĚĞŶƚ^ĐŚŽŽůŝƐƚƌŝĐƚĂŶĚŝƚǇŽĨ                                                        ϭϮϯϱEŽƌƚŚ>ŽŽƉtĞƐƚ
DŽŶƚŐŽŵĞƌǇ͕ƌĂǌŽƌŝĂŽƵŶƚǇ͕ƌĂǌŽƌŝĂŽƵŶƚǇDƵŶŝĐŝƉĂůhƚŝůŝƚǇ        WĞƌĚƵĞ͕ƌĂŶĚŽŶ͕&ŝĞůĚĞƌ͕ŽůůŝŶƐΘDŽƚƚ͕   ^ƵŝƚĞϲϬϬ
ŝƐƚƌŝĐƚηϯϰ                                                           >͘>͘W͘                                       ,ŽƵƐƚŽŶdyϳϳϬϬϴ                                         ŵ
                                                                                                                                                                              ǀĂůĚĞǌΛƉďĨĐŵ͘ĐŽŵ                  ŵĂŝů

                                                                                                                    ƚƚŶ͗ůǇƐŝĂſƌĚŽǀĂ
                                                                       WĞƌĚƵĞ͕ƌĂŶĚŽŶ͕&ŝĞůĚĞƌ͕ŽůůŝŶƐĂŶĚDŽƚƚ͕ W͘K͘ŽǆϵϭϯϮ                                            ĂĐŽƌĚŽǀĂΛƉďĨĐŵ͘ĐŽŵ
ŽƵŶƐĞůƚŽWŽƚƚĞƌŽƵŶƚǇdĂǆKĨĨŝĐĞĂŶĚZĂŶĚĂůůŽƵŶƚǇdĂǆKĨĨŝĐĞ      >͘>͘W͘                                       ŵĂƌŝůůŽdyϳϵϭϬϱ                                        ĂŵĂďŬƌΛƉďĨĐŵ͘ĐŽŵ                    ŵĂŝů

                                                                                                                    ƚƚŶ͗ůŝƐĂ,ǇĚĞƌ
                                                                                                                    dŚƌĞĞ>ŽŐĂŶ^ƋƵĂƌĞ
ŽƵŶƐĞůĨŽƌŚĂŵƉŝŽŶWĞƚĨŽŽĚƐh^/ŶĐ͕͘DĂƌƐWĞƚĐĂƌĞh^͕/ŶĐ͕͘DĂƌƐ                                                ϭϳϭϳƌĐŚ^ƚƌĞĞƚ͕^ƵŝƚĞϮϴϬϬ
&ŝƐŚĐĂƌĞEŽƌƚŚŵĞƌŝĐĂ͕/ŶĐ͕͘ZŽǇĂůĂŶŝŶh͘^͘͕͘/ŶĐ͘                 WŽůƐŝŶĞůůŝW                                WŚŝůĂĚĞůƉŚŝĂWϭϵϭϬϯ                                    Ğ ŚǇĚĞƌΛƉŽůƐŝŶĞůůŝ͘ĐŽŵ             ŵĂŝů

                                                                                                                    ƚƚŶ͗^ŚĂŶƚŝD͘<ĂƚŽŶĂ͕<ĂƚŚĞƌŝŶĞD͘ĞǀĂŶŶĞǇ
ŽƵŶƐĞůĨŽƌŚĂŵƉŝŽŶWĞƚĨŽŽĚƐh^/ŶĐ͕͘DĂƌƐWĞƚĐĂƌĞh^͕/ŶĐ͕͘DĂƌƐ                                                ϮϮϮĞůĂǁĂƌĞǀĞŶƵĞ͕^ƵŝƚĞϭϭϬϭ                          ƐŬĂƚŽŶĂΛƉŽůƐŝŶĞůůŝ͘ĐŽŵ
&ŝƐŚĐĂƌĞEŽƌƚŚŵĞƌŝĐĂ͕/ŶĐ͕͘ZŽǇĂůĂŶŝŶh͘^͘͕͘/ŶĐ͘                 WŽůƐŝŶĞůůŝW                                tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                      ŬĚĞǀĂŶŶĞǇΛƉŽůƐŝŶĞůůŝ͘ĐŽŵ            ŵĂŝů


                                                                                                                    ƚƚŶ͗:ĞƌĞŵǇt͘ZǇĂŶ͕ƌĞƚƚD͘,ĂǇǁŽŽĚ͕ƚŚĂŶ,͘^ƵůŝŬ
                                                                                                                    ϭϯϭϯE͘DĂƌŬĞƚ^ƚƌĞĞƚ                                    ũƌǇĂŶΛƉŽƚƚĞƌĂŶĚĞƌƐŽŶ͘ĐŽŵ
                                                                                                                    ϲƚŚ&ůŽŽƌ                                                ďŚĂǇǁŽŽĚΛƉŽƚƚĞƌĂŶĚĞƌƐŽŶ͘ĐŽŵ
ŽƵŶƐĞůƚŽ:WDŽƌŐĂŶŚĂƐĞĂŶŬ͕E͘͕͘ĂƐWƌĞƉĞƚŝƚŝŽŶ>ŐĞŶƚ         WŽƚƚĞƌŶĚĞƌƐŽŶΘŽƌƌŽŽŶ>>W                tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                      ĞƐƵůŝŬΛƉŽƚƚĞƌĂŶĚĞƌƐŽŶ͘ĐŽŵ          ŵĂŝů




         /ŶƌĞ͗&ƌĂŶĐŚŝƐĞ'ƌŽƵƉ͕/ŶĐ͕͘ĞƚĂů͘
         ĂƐĞEŽ͘ϮϰͲϭϮϰϴϬ;>^^Ϳ                                                                                          WĂŐĞϭϬŽĨϭϱ
                                                                    Case 24-12480-LSS                       Doc 1190               Filed 03/27/25              Page 14 of 22
                                                                                                                        ǆŚŝďŝƚ
                                                                                                                   ŽƌĞͬϮϬϬϮ^ĞƌǀŝĐĞ>ŝƐƚ
                                                                                                                  ^ĞƌǀĞĚĂƐƐĞƚĨŽƌƚŚďĞůŽǁ

                                   ^Z/Wd/KE                                             ED                                               Z^^                                              D/>      Dd,KK&^Zs/

                                                                                                                  ƚƚŶ͗>͘<ĂƚĞDĂƐŽŶ
                                                                                                                  ϰϭϭ͘tŝƐĐŽŶƐŝŶǀĞŶƵĞ
                                                                                                                  ^ƵŝƚĞϮϰϬϬ
ŽƵŶƐĞůƚŽtŚŝƌůƉŽŽůŽƌƉŽƌĂƚŝŽŶ                                        YƵĂƌůĞƐΘƌĂĚǇ>>W                      DŝůǁĂƵŬĞĞt/ϱϯϮϬϮ                                      <ĂƚŝĞ͘DĂƐŽŶΛƋƵĂƌůĞƐ͘ĐŽŵ          ŵĂŝů

                                                                                                                  ƚƚŶ͗:ŽŚŶ,͘<ŶŝŐŚƚ͕ŵĂŶĚĂZ͘^ƚĞĞůĞ͕ůĞǆĂŶĚĞƌZ͘
                                                                                                                  ^ƚĞŝŐĞƌ
                                                                                                                  KŶĞZŽĚŶĞǇ^ƋƵĂƌĞ                                       ŬŶŝŐŚƚΛƌůĨ͘ĐŽŵ
                                                                                                                  ϵϮϬEŽƌƚŚ<ŝŶŐ^ƚƌĞĞƚ                                   ƐƚĞĞůĞΛƌůĨ͘ĐŽŵ
ŽƵƐŶĞůƚŽ͘ZŝůĞǇWƌŝŶĐŝƉĂů/ŶǀĞƐƚŵĞŶƚƐ͕>>ĂŶĚŝƚƐĂĨĨŝůŝĂƚĞƐ        ZŝĐŚĂƌĚƐ>ĂǇƚŽŶΘ&ŝŶŐĞƌW              tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                     ƐƚĞŝŐĞƌΛƌůĨ͘ĐŽŵ                 ŵĂŝů

                                                                                                                  ƚƚŶ͗^ƚĞǀĞŶ&Žǆ
                                                                                                                  dŝŵĞƐ^ƋƵĂƌĞdŽǁĞƌ^ƵŝƚĞϮϱϬϲ
                                                                                                                  ^ĞǀĞŶdŝŵĞƐ^ƋƵĂƌĞ
ŽƵŶƐĞůƚŽ,ŝůĐŽDĞƌĐŚĂŶƚZĞƐŽƵƌĐĞƐ͕>>                                 ZŝĞŵĞƌΘƌĂƵŶƐƚĞŝŶ>>W                  EĞǁzŽƌŬEzϭϬϬϯϲ                                       ƐĨŽǆΛƌĞŝŵĞƌůĂǁ͘ĐŽŵ               &ŝƌƐƚůĂƐƐDĂŝů

                                                                                                                  ƚƚŶ͗DŝĐŚĂĞů>͘^ĐŚůĞƉƉ
                                                                                                                  ϭϱϱϬtĞǁĂƚƚĂ^ƚƌĞĞƚ͕&ůŽŽƌϮ
ŽƵŶƐĞůƚŽtŝůƐŽŶŵĂƉ//>>                                           ^Θ>Ăǁ                                  ĞŶǀĞƌKϴϬϮϬϮ                                                                          &ŝƌƐƚůĂƐƐDĂŝů


ŽƵŶƐĞůƚŽƚůĂŶƚŝĐWůĂǌĂ^ƚĂƚŝŽŶ>>͕ĚŐĞǁŽŽĚ^ƚĂƚŝŽŶ>>͕&ĂŝƌůĂǁŶ
^ƚĂƚŝŽŶ>>͕,ĂƌǀĞƐƚ^ƚĂƚŝŽŶ>>͕sŝůůĂŐĞDŽŽƌĞƐǀŝůůĞ^ƚĂƚŝŽŶ>>͕
&ĂŝƌĨŝĞůĚ^ƚĂƚŝŽŶ>>͕>ĂŬĞǁŽŽĚ;KŚŝŽͿ^ƚĂƚŝŽŶ>>͕^ŚŽƌĞŐĂƚĞ^ƚĂƚŝŽŶ
>>͕,ĂƌƚǀŝůůĞ^ƚĂƚŝŽŶ>>͕:ĞŶƐĞŶĞĂĐŚ^ƚĂƚŝŽŶ>>͕ŚĂƉĞů,ŝůůEŽƌƚŚ
^ƚĂƚŝŽŶ>>͕&ŝǀĞdŽǁŶ^ƚĂƚŝŽŶ>>͕'ŽůĚĞŶ^ƚĂƚŝŽŶ>>͕,ĂŵŝůƚŽŶZŝĚŐĞ
^ƚĂƚŝŽŶ>>͕,ĂŵƉƚŽŶsŝůůĂŐĞ^ƚĂƚŝŽŶ>>͕DĞŵŽƌŝĂů<ŝƌŬǁŽŽĚ^ƚĂƚŝŽŶ
>>͕KƌĐŚĂƌĚ^ƋƵĂƌĞ^ƚĂƚŝŽŶ>>͕ZĂŝŶďŽǁ^ƚĂƚŝŽŶEŽƌƚŚ>>͕^ŽƵƚŚĨŝĞůĚ                                           ƚƚŶ͗DŽŶŝƋƵĞ͘ŝ^ĂďĂƚŝŶŽ͕DĂƌŬDŝŶƵƚŝ
^ƚĂƚŝŽŶ>>͕^ƚŽŶĞ'ĂƚĞ^ƚĂƚŝŽŶ>>͕sĂůƌŝĐŽ^ƚĂƚŝŽŶ>>͕tŚĞĂƚZŝĚŐĞ                                            ϭϮϬϭEŽƌƚŚDĂƌŬĞƚ^ƚƌĞĞƚ͕^ƵŝƚĞϮϯϬϬ
^ƚĂƚŝŽŶ>>͕^ƵŵŵĞƌǀŝůůĞ^ƚĂƚŝŽŶ>>͕ĂŶĚWŚŝůůŝƉƐĚŝƐŽŶΘŽŵƉĂŶǇ͕                                             W͘K͘ŽǆϭϮϲϲ                                           ŵŽŶŝƋƵĞ͘ĚŝƐĂďĂƚŝŶŽΛƐĂƵů͘ĐŽŵ
ĞƌĂů͕>>>W͕>ĂƵƌĞů>ĂŬĞƐ͕>>                                            ^ĂƵůǁŝŶŐ>>W                          tŝůŵŝŶŐƚŽŶϭϵϴϵϵ                                     ŵĂƌŬ͘ŵŝŶƵƚŝΛƐĂƵů͘ĐŽŵ             ŵĂŝů


ŽƵŶƐĞůƚŽƚůĂŶƚŝĐWůĂǌĂ^ƚĂƚŝŽŶ>>͕ĚŐĞǁŽŽĚ^ƚĂƚŝŽŶ>>͕&ĂŝƌůĂǁŶ
^ƚĂƚŝŽŶ>>͕,ĂƌǀĞƐƚ^ƚĂƚŝŽŶ>>͕sŝůůĂŐĞDŽŽƌĞƐǀŝůůĞ^ƚĂƚŝŽŶ>>͕
&ĂŝƌĨŝĞůĚ^ƚĂƚŝŽŶ>>͕>ĂŬĞǁŽŽĚ;KŚŝŽͿ^ƚĂƚŝŽŶ>>͕^ŚŽƌĞŐĂƚĞ^ƚĂƚŝŽŶ
>>͕,ĂƌƚǀŝůůĞ^ƚĂƚŝŽŶ>>͕:ĞŶƐĞŶĞĂĐŚ^ƚĂƚŝŽŶ>>͕ŚĂƉĞů,ŝůůEŽƌƚŚ
^ƚĂƚŝŽŶ>>͕&ŝǀĞdŽǁŶ^ƚĂƚŝŽŶ>>͕'ŽůĚĞŶ^ƚĂƚŝŽŶ>>͕,ĂŵŝůƚŽŶZŝĚŐĞ
^ƚĂƚŝŽŶ>>͕,ĂŵƉƚŽŶsŝůůĂŐĞ^ƚĂƚŝŽŶ>>͕DĞŵŽƌŝĂů<ŝƌŬǁŽŽĚ^ƚĂƚŝŽŶ                                              ƚƚŶ͗dƵƌŶĞƌE͘&ĂůŬ
>>͕KƌĐŚĂƌĚ^ƋƵĂƌĞ^ƚĂƚŝŽŶ>>͕ZĂŝŶďŽǁ^ƚĂƚŝŽŶEŽƌƚŚ>>͕^ŽƵƚŚĨŝĞůĚ                                           ĞŶƚƌĞ^ƋƵĂƌĞtĞƐƚ
^ƚĂƚŝŽŶ>>͕^ƚŽŶĞ'ĂƚĞ^ƚĂƚŝŽŶ>>͕sĂůƌŝĐŽ^ƚĂƚŝŽŶ>>͕tŚĞĂƚZŝĚŐĞ                                            ϭϱϬϬDĂƌŬĞƚ^ƚƌĞĞƚ͕ϯϴƚŚ&ůŽŽƌ
^ƚĂƚŝŽŶ>>͕^ƵŵŵĞƌǀŝůůĞ^ƚĂƚŝŽŶ>>͕ĂŶĚWŚŝůůŝƉƐĚŝƐŽŶΘŽŵƉĂŶǇ       ^ĂƵůǁŝŶŐ>>W                          WŚŝůĂĚĞůƉŚŝĂWϭϵϭϬϮ                                   ƚ ƵƌŶĞƌ͘ĨĂůŬΛƐĂƵů͘ĐŽŵ           ŵĂŝů

                                                                                                                  ƚƚŶ͗ĂŶŬƌƵƉƚĐǇĞƉĂƌƚŵĞŶƚ
                                                                                                                  ƌŽŽŬĨŝĞůĚWůĂĐĞ
                                                                         ^ĞĐƵƌŝƚŝĞƐΘǆĐŚĂŶŐĞŽŵŵŝƐƐŝŽŶͲEz   ϮϬϬsĞƐĞǇ^ƚƌĞĞƚ͕^ƵŝƚĞϰϬϬ                             ďĂŶŬƌƵƉƚĐǇŶŽƚŝĐĞƐĐŚƌΛƐĞĐ͘ŐŽǀ
^ĞĐƵƌŝƚŝĞƐĂŶĚǆĐŚĂŶŐĞŽŵŵŝƐƐŝŽŶ                                       KĨĨŝĐĞ                                   EĞǁzŽƌŬEzϭϬϮϴϭͲϭϬϮϮ                                  ŶǇƌŽďĂŶŬƌƵƉƚĐǇΛƐĞĐ͘ŐŽǀ           &ŝƌƐƚůĂƐƐDĂŝůĂŶĚŵĂŝů




          /ŶƌĞ͗&ƌĂŶĐŚŝƐĞ'ƌŽƵƉ͕/ŶĐ͕͘ĞƚĂů͘
          ĂƐĞEŽ͘ϮϰͲϭϮϰϴϬ;>^^Ϳ                                                                                       WĂŐĞϭϭŽĨϭϱ
                                                                     Case 24-12480-LSS                        Doc 1190            Filed 03/27/25            Page 15 of 22
                                                                                                                       ǆŚŝďŝƚ
                                                                                                                  ŽƌĞͬϮϬϬϮ^ĞƌǀŝĐĞ>ŝƐƚ
                                                                                                                 ^ĞƌǀĞĚĂƐƐĞƚĨŽƌƚŚďĞůŽǁ

                                  ^Z/Wd/KE                                                 ED                                           Z^^                                            D/>         Dd,KK&^Zs/

                                                                                                                 ƚƚŶ͗ĂŶŬƌƵƉƚĐǇĞƉĂƌƚŵĞŶƚ
                                                                                                                 KŶĞWĞŶŶĞŶƚĞƌ
                                                                        ^ĞĐƵƌŝƚŝĞƐΘǆĐŚĂŶŐĞŽŵŵŝƐƐŝŽŶͲ      ϭϲϭϳ:&<ůǀĚ͕^ƵŝƚĞϱϮϬ
^ĞĐƵƌŝƚŝĞƐĂŶĚǆĐŚĂŶŐĞŽŵŵŝƐƐŝŽŶ                                      WŚŝůĂĚĞůƉŚŝĂKĨĨŝĐĞ                      WŚŝůĂĚĞůƉŚŝĂWϭϵϭϬϯ                                   ƐĞĐďĂŶŬƌƵƉƚĐǇΛƐĞĐ͘ŐŽǀ             &ŝƌƐƚůĂƐƐDĂŝůĂŶĚŵĂŝů

                                                                                                                 ƚƚŶ͗ůĂŶ:͘dĂǇůŽƌ
                                                                                                                 ϮϵϭϬϬEŽƌƚŚǁĞƐƚĞƌŶ,ŝŐŚǁĂǇ͕^ƵŝƚĞϮϰϬ
ŽƵŶƐĞůƚŽƌŽŽŬĚĂůĞ^ŚŽƉƉŝŶŐĞŶƚĞƌ͕>͘>͘͘;ƌĞĚŝƚŽƌͬ>ĂŶĚůŽƌĚͿ       ^ĞŐĂůDĐĂŵďƌŝĚŐĞ^ŝŶŐĞƌΘDĂŚŽŶĞǇ       ^ŽƵƚŚĨŝĞůĚD/ϰϴϬϯϰ                                     Ă ƚĂǇůŽƌΛƐŵƐŵ͘ĐŽŵ                ŵĂŝů

                                                                                                                 ƚƚŶ͗:͘ĂǀŝĚ&ŽƌƐǇƚŚ
                                                                                                                 ϰϬϬWŽǇĚƌĂƐ^ƚƌĞĞƚ
                                                                                                                 ^ƵŝƚĞϮϱϱϬ
ŽƵŶƐĞůƚŽ^ŚĂŶƌŝ,ŽůĚŝŶŐƐŽƌƉŽƌĂƚŝŽŶ                                  ^ĞƐƐŝŽŶƐ͕&ŝƐŚŵĂŶΘEĂƚŚĂŶ͕>>          EĞǁKƌůĞĂŶƐ>ϳϬϭϯϬ                                    ũĚĨΛƐĞƐƐŝŽŶƐͲůĂǁ͘ĐŽŵ              ŵĂŝů

                                                                                                                                                                         ďĂƚĞŵĂŶΛƐĞǁŬŝƐ͘ĐŽŵ
                                                                                                                                                                         ƉĂƚĞůΛƐĞǁŬŝƐ͘ĐŽŵ
                                                                                                                 ƚƚŶ͗'ƌĞŐŐĂƚĞŵĂŶ͕^ĂŐĂƌWĂƚĞů͕DŝĐŚĂĞůĂŶĞŶďĞƌŐ͕   ĚĂŶĞŶďĞƌŐΛƐĞǁŬŝƐ͘ĐŽŵ
                                                                                                                 :ŽŚŶZ͘ƐŚŵĞĂĚ͕'ƌĞŐŐ^͘ĂƚĞŵĂŶ͕ŶĚƌĞǁ:͘DĂƚŽƚƚ     ĂƐŚŵĞĂĚΛƐĞǁŬŝƐ͘ĐŽŵ
ŽƵŶƐĞůƚŽƚŚĞ/WŐĞŶƚ͕tŝůŵŝŶŐƚŽŶdƌƵƐƚ͕EĂƚŝŽŶĂůƐƐŽĐŝĂƚŝŽŶ͕ĂƐ                                            KŶĞĂƚƚĞƌǇWĂƌŬWůĂǌĂ                                  ďĂƚĞŵĂŶΛƐĞǁŬŝƐ͘ĐŽŵ
WƌĞƉĞƚŝƚŝŽŶ&ŝƌƐƚ>ŝĞŶŐĞŶƚĂŶĚ/WŐĞŶƚ                              ^ĞǁĂƌĚΘ<ŝƐƐĞů>>W                      EĞǁzŽƌŬEzϭϬϬϬϰ                                       ŵĂƚŽƚƚΛƐĞǁŬŝƐ͘ĐŽŵ                 &ŝƌƐƚůĂƐƐDĂŝůĂŶĚŵĂŝů

                                                                                                                 ƚƚŶ͗ƌŝĐ^͘'ŽůĚƐƚĞŝŶ                                 ĞŐŽůĚƐƚĞŝŶΛŐŽŽĚǁŝŶ͘ĐŽŵ
                                                                                                                 KŶĞŽŶƐƚŝƚƵƚŝŽŶWůĂǌĂ                                  ďĂŶŬƌƵƉƚĐǇΛŐŽŽĚǁŝŶ͘ĐŽŵ
ŽƵŶƐĞůƚŽ^ĂǇǀŝůůĞWůĂǌĂĞǀĞůŽƉŵĞŶƚ͕>>                              ^ŚŝƉŵĂŶΘ'ŽŽĚǁŝŶ>>W                    ,ĂƌƚĨŽƌĚdϬϲϭϬϯͲϭϵϭϵ                                  ďĂŶŬƌƵƉƚĐǇƉĂƌĂůĞŐĂůΛŐŽŽĚǁŝŶ͘ĐŽŵ   ŵĂŝů

                                                                                                                 ƚƚŶ͗tŝůůŝĂŵ&͘DĐŽŶĂůĚ///
                                                                                                                 ϭϬϵϮϬsŝĂ&ƌŽŶƚĞƌĂ͕^ƵŝƚĞϮϮϬ
ŽƵŶƐĞůƚŽ^ŚŽƉŽƌĞWƌŽƉĞƌƚŝĞƐĂŶĚŝƚƐƌĞůĂƚĞĚĞŶƚŝƚŝĞƐ                 ^ŚŽƉŽƌĞWƌŽƉĞƌƚŝĞƐ                      ^ĂŶŝĞŐŽϵϮϭϮϳ                                      ǁ
                                                                                                                                                                          ŵĐĚŽŶĂůĚΛƐŚŽƉĐŽƌĞ͘ĐŽŵ           ŵĂŝů

                                                                                                                 ƚƚŶ͗ZŽŶĂůĚD͘dƵĐŬĞƌ
                                                                                                                 ϮϮϱtĞƐƚtĂƐŚŝŶŐƚŽŶ^ƚƌĞĞƚ
ŽƵŶƐĞůƚŽ^ŝŵŽŶWƌŽƉĞƌƚǇ'ƌŽƵƉ͕/ŶĐ͘ĂŶĚŝƚƐƌĞůĂƚĞĚĞŶƚŝƚŝĞƐ          ^ŝŵŽŶWƌŽƉĞƌƚǇ'ƌŽƵƉ͕/ŶĐ͘               /ŶĚŝĂŶĂƉŽůŝƐ/EϰϲϮϬϰ                                   ƌƚƵĐŬĞƌΛƐŝŵŽŶ͘ĐŽŵ                 ŵĂŝů

                                                                                                                 ƚƚŶ͗DŝĐŚĞůůĞ͘^ŚƌŝƌŽ
                                                                                                                 ϭϲϮϬϬĚĚŝƐŽŶZŽĂĚ͕^ƵŝƚĞϭϰϬ
ŽƵŶƐĞůƚŽsŝůůĂŐĞĂƚƚŚĞDĂůů,ŽůĚŝŶŐƐ͕>>͕ƌŝĚŐĞϯϯĂƉŝƚĂů>>      ^ŝŶŐĞƌΘ>ĞǀŝĐŬ͕W͘͘                    ĚĚŝƐŽŶdyϳϱϬϬϭ                                        ŵ
                                                                                                                                                                          ƐŚƌŝƌŽΛƐŝŶŐĞƌůĞǀŝĐŬ͘ĐŽŵ         ŵĂŝů

                                                                                                                 ƚƚŶ͗ĂŶĂ^͘WůŽŶ
                                                                                                                 ϭϮϯ^ŽƵƚŚƌŽĂĚ^ƚƌĞĞƚ͕^ƵŝƚĞϮϭϬϬ
ŽƵŶƐĞůƚŽWĂŽůŝ^ŚŽƉƉŝŶŐĞŶƚĞƌ>ŝŵŝƚĞĚWĂƌƚŶĞƌƐŚŝƉ͕WŚĂƐĞ//          ^ŝƌůŝŶ>ĞƐƐĞƌΘĞŶƐŽŶ͕W͘͘             WŚŝůĂĚĞůƉŚŝĂWϭϵϭϬϵ                                   Ě
                                                                                                                                                                          ƉůŽŶΛƐŝƌůŝŶůĂǁ͘ĐŽŵ              ŵĂŝů

                                                                                                                 ƚƚŶ͗DĂƌŬ͘^ĂůǌďĞƌŐ
                                                                                                                 ϮϱϱϬD^ƚƌĞĞƚ͕Et
ŽƵŶƐĞůƚŽůƵĞzŽŶĚĞƌ͕/ŶĐ͘                                            ^ƋƵŝƌĞWĂƚƚŽŶŽŐŐƐ;h^Ϳ>>W             tĂƐŚŝŶŐƚŽŶϮϬϬϯϳ                                     ŵ
                                                                                                                                                                          ĂƌŬ͘ƐĂůǌďĞƌŐΛƐƋƵŝƌĞƉď͘ĐŽŵ       ŵĂŝů

                                                                                                                 ƚƚŶ͗:ŽƐĞƉŚ,͘>ĞŵŬŝŶ
                                                                                                                 WKŽǆϱϯϭϱ
ŽƵŶƐĞůƚŽWĞŽƌŝĂZĞŶƚĂůWƌŽƉĞƌƚŝĞƐ͕>>                                ^ƚĂƌŬΘ^ƚĂƌŬ͕W͘͘                      WƌŝŶĐĞƚŽŶE:Ϭϴϱϰϯ                                      ũůĞŵŬŝŶΛƐƚĂƌŬͲƐƚĂƌŬ͘ĐŽŵ           ŵĂŝů




         /ŶƌĞ͗&ƌĂŶĐŚŝƐĞ'ƌŽƵƉ͕/ŶĐ͕͘ĞƚĂů͘
         ĂƐĞEŽ͘ϮϰͲϭϮϰϴϬ;>^^Ϳ                                                                                       WĂŐĞϭϮŽĨϭϱ
                                                                    Case 24-12480-LSS                      Doc 1190               Filed 03/27/25             Page 16 of 22
                                                                                                                       ǆŚŝďŝƚ
                                                                                                                  ŽƌĞͬϮϬϬϮ^ĞƌǀŝĐĞ>ŝƐƚ
                                                                                                                 ^ĞƌǀĞĚĂƐƐĞƚĨŽƌƚŚďĞůŽǁ

                                   ^Z/Wd/KE                                              ED                                               Z^^                                              D/>         Dd,KK&^Zs/

                                                                                                                ƚƚŶ͗^ĂďƌŝŶĂ>͘^ƚƌĞƵƐĂŶĚ
                                                                                                                ϭϴϬϭ^͘DŽWĂĐǆƉƌĞƐƐǁĂǇ͕^ƵŝƚĞϯϮϬ
ŽƵŶƐĞůƚŽĞůů&ŝŶĂŶĐŝĂů^ĞƌǀŝĐĞ>͘>͘͘                                 ^ƚƌĞƵƐĂŶĚ͕>ĂŶĚŽŶKǌďƵƌŶΘ>ĞŵŵŽŶ͕>>W ƵƐƚŝŶdyϳϴϳϰϲ                                            Ɛ ƚƌĞƵƐĂŶĚΛƐůŽůůƉ͘ĐŽŵ               ŵĂŝů

                                                                                                                 ƚƚŶ͗'͘:ĂŵĞƐ>ĂŶĚŽŶ
                                                                                                                 ϭϴϬϭ^͘DŽƉĂĐǆƉƌĞƐƐǁĂǇ͕^ƵŝƚĞϯϮϬ
ŽƵŶƐĞůĨŽƌĞůů&ŝŶĂŶĐŝĂů^ĞƌǀŝĐĞƐ͕>͘>͘͘                              ^ƚƌĞƵƐĂŶĚ͕>ĂŶĚŽŶ͕KǌďƵƌŶΘ>ĞŵŵŽŶ͕>>W ƵƐƚŝŶdyϳϴϳϰϲ                                           ůĂŶĚŽŶΛƐůŽůůƉ͘ĐŽŵ                    ŵĂŝů

                                                                                                                 ƚƚŶ͗tŝůůŝĂŵ͘,ĂǌĞůƚŝŶĞ
                                                                                                                 ϵϭϵE͘DĂƌŬĞƚ^ƚƌĞĞƚ
                                                                                                                 ^ƵŝƚĞϰϮϬ
ŽƵŶƐĞůƚŽtŚŝƌůƉŽŽůŽƌƉŽƌĂƚŝŽŶ                                        ^ƵůůŝǀĂŶ,ĂǌĞůƚŝŶĞůůŝŶƐŽŶ>>         tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                       ǁŚĂǌĞůƚŝŶĞΛƐŚĂͲůůĐ͘ĐŽŵ               ŵĂŝů

                                                                                                                 ƚƚŶ͗ŚĂƌůĞƐ^͘^ƚĂŚů͕:ƌ͘
                                                                                                                 ϮϱϮϱĂďŽƚƌŝǀĞ
                                                                                                                 ^ƵŝƚĞϮϬϰ
ŽƵŶƐĞůƚŽZĂǇŵŽŶĚ>ĞĂƐŝŶŐŽƌƉŽƌĂƚŝŽŶ                                   ^ǁĂŶƐŽŶ͕DĂƌƚŝŶΘĞůů͕>>W             >ŝƐůĞ/>ϲϬϱϯϮ                                            ĐƐƚĂŚůΛƐŵďƚƌŝĂůƐ͘ĐŽŵ                 ŵĂŝů

                                                                                                                 ƚƚŶ͗ĂǀŝĚ͘ŽŚĞŶ
                                                                                                                 ϱϬϬ^ŬŽŬŝĞŽƵůĞǀĂƌĚ͕^ƵŝƚĞϲϬϬ
ŽƵŶƐĞůƚŽD:<ZĞĂůƐƚĂƚĞ,ŽůĚŝŶŐŽŵƉĂŶǇ͕>>                          ^t<ƚƚŽƌŶĞǇƐĂƚ>Ăǁ                    EŽƌƚŚďƌŽŽŬ/>ϲϬϬϲϮ                                       Ě
                                                                                                                                                                            ĐŽŚĞŶΛƐǁŬĂƚƚŽƌŶĞǇƐ͘ĐŽŵ             ŵĂŝů

ŽƵŶƐĞůĨŽƌ<ŝŶWƌŽƉĞƌƚŝĞƐ͕/ŶĐ͕͘:ĞĨĂŶ>>͕ďĞƌĚĞĞŶKŬůĂŚŽŵĂ
ƐƐŽĐŝĂƚĞƐ͕WĂƐĂŶ>>͕ƐĂŶ>>͕&ƵŶĚĂŵĞŶƚĂůƐŽŵƉĂŶǇ>>͕DƵĨĨƌĞǇ
>>͕&ƵŶĚĂŵĞŶƚĂůƐŽŵƉĂŶǇ͕<ŝŶƉĂƌŬƐƐŽĐŝĂƚĞƐ͕>ĂƵƌŝĞ/ŶĚƵƐƚƌŝĞƐ/ŶĐ͕͘                                          ƚƚŶ͗:ĞĨĨƌĞǇZŚŽĚĞƐ
ůŝƐĂŶdƌƵƐƚ͕ŝĂũĞĨĨdƌƵƐƚ͕^ƚŽǁƐĂŶ>ŝŵŝƚĞĚWĂƌƚŶĞƌƐŚŝƉ͕ƐƵĞ>>͕ůŝƐĂŶ                                      ϮϬϬϭ>^ƚƌĞĞƚ͕Et͕^ƵŝƚĞϱϬϬ
>>͕ĂŶĚZŽƐĞĨĨ>>                                                         dĂǇŵĂŶ>ĂŶĞŚĂǀĞƌƌŝ>>W             tĂƐŚŝŶŐƚŽŶϮϬϬϯϲ                                       ũƌŚŽĚĞƐΛƚůĐůĂǁĨŝƌŵ͘ĐŽŵ               ŵĂŝů

                                                                                                                 ƚƚŶ͗ƌĂĚƐŚĂǁZŽƐƚ
                                                                                                                 ϰϱϬϰtĂůƐŚ^ƚƌĞĞƚ͕^ƵŝƚĞϮϬϬ
ŽƵŶƐĞůƚŽƌĞĚŝƚŽƌ͕WĂƌŬƌŝĚŐĞĞŶƚĞƌZĞƚĂŝů͕>>                        dĞŶĞŶďĂƵŵΘ^ĂĂƐ͕W͘͘                  ŚĞǀǇŚĂƐĞDϮϬϴϭϱ                                      
                                                                                                                                                                            ZŽƐƚΛƚƐƉĐůĂǁ͘ĐŽŵ                   ŵĂŝů


                                                                                                                 ƚƚŶ͗ŚƌŝƐƚŽƉŚĞƌ^͘DƵƌƉŚǇ͕ƐƐŝƐƚĂŶƚƚƚŽƌŶĞǇ'ĞŶĞƌĂů
                                                                                                                 ĂŶŬƌƵƉƚĐǇΘŽůůĞĐƚŝŽŶƐŝǀŝƐŝŽŶ
                                                                                                                 W͘K͘ŽǆϭϮϱϰϴ
ŽƵŶƐĞůƚŽƚŚĞdĞǆĂƐŽŵƉƚƌŽůůĞƌŽĨWƵďůŝĐĐĐŽƵŶƚƐ                      dĞǆĂƐƚƚŽƌŶĞǇ'ĞŶĞƌĂůΖƐKĨĨŝĐĞ         ƵƐƚŝŶdyϳϴϳϭϭͲϮϱϰϴ                                      Đ ŚƌŝƐƚŽƉŚĞƌ͘ŵƵƌƉŚǇΛŽĂŐ͘ƚĞǆĂƐ͘ŐŽǀ   ŵĂŝů

                                                                                                                 ƚƚŶ͗tŝůůŝĂŵŚƌůŝĐŚ
                                                                                                                 ϰϰϰǆĞĐƵƚŝǀĞĞŶƚĞƌůǀĚ͕^ƵŝƚĞϮϰϬ
ŽƵŶƐĞůƚŽŝĞůŽWĂƐŽ>ĂƐdŝĞŶĚĂƐ͕>͘W͘                                  dŚĞŚƌůŝĐŚ>Ăǁ&ŝƌŵ                    ůWĂƐŽdyϳϵϵϬϮ                                          ǁ
                                                                                                                                                                            ŝůůŝĂŵΛĞŚƌůŝĐŚůĂǁĨŝƌŵ͘ĐŽŵ          ŵĂŝů

                                                                                                                 ƚƚŶ͗DĂƌŬ&͘DĂŐŶŽǌǌŝ
                                                                                                                 Ϯϯ'ƌĞĞŶ^ƚƌĞĞƚ͕^ƵŝƚĞϯϬϮ
ŽƵŶƐĞůƚŽKƌĂĐůĞŵĞƌŝĐĂ͕/ŶĐ                                           dŚĞDĂŐŶŽǌǌŝ>Ăǁ&ŝƌŵ͕W͘͘             ,ƵŶƚŝŶŐƚŽŶEzϭϭϳϰϯ                                       ŵ
                                                                                                                                                                            ŵĂŐŶŽǌǌŝΛŵĂŐŶŽǌǌŝůĂǁ͘ĐŽŵ           ŵĂŝů




          /ŶƌĞ͗&ƌĂŶĐŚŝƐĞ'ƌŽƵƉ͕/ŶĐ͕͘ĞƚĂů͘
          ĂƐĞEŽ͘ϮϰͲϭϮϰϴϬ;>^^Ϳ                                                                                      WĂŐĞϭϯŽĨϭϱ
                                                                 Case 24-12480-LSS                       Doc 1190                Filed 03/27/25              Page 17 of 22
                                                                                                                       ǆŚŝďŝƚ
                                                                                                                 ŽƌĞͬϮϬϬϮ^ĞƌǀŝĐĞ>ŝƐƚ
                                                                                                                ^ĞƌǀĞĚĂƐƐĞƚĨŽƌƚŚďĞůŽǁ

                                  ^Z/Wd/KE                                            ED                                               Z^^                                               D/>        Dd,KK&^Zs/

                                                                                                                 ƚƚŶ͗>ŽƵŝƐ&^ŽůŝŵŝŶĞ
                                                                                                                 ϯϭϮtĂůŶƵƚ^ƚƌĞĞƚ
                                                                                                                 ^ƵŝƚĞϮϬϬϬ
ŽƵŶƐĞůƚŽ>hĂŶĚůĞƌƐ^ƚĂƚŝŽŶ,ŽůĚŝŶŐƐ͕>>                          dŚŽŵƉƐŽŶ,ŝŶĞ>>W                          ŝŶĐŝŶŶĂƚŝK,ϰϱϮϬϮͲϰϬϮϵ                                 >ŽƵŝƐ͘^ŽůŝŵŝŶĞΛdŚŽŵƉƐŽŶ,ŝŶĞ͘ĐŽŵ   ŵĂŝů

                                                                                                                 ƚƚŶ͗DŝĐŚĂĞů͘WƵŐŚ
                                                                                                                 Ϯ^ƵŶŽƵƌƚ͕^ƵŝƚĞϰϬϬ
ŽƵŶƐĞůƚŽEŽƌƚŚƐŝĚĞsŝůůĂŐĞŽŶǇĞƌƐ͕>>                             dŚŽŵƉƐŽŶKΖƌŝĞŶ<ĂƉƉůĞƌΘEĂƐƵƚŝW       WĞĂĐŚƚƌĞĞŽƌŶĞƌƐ'ϯϬϬϵϮ                               ŵƉƵŐŚΛƚŽŬŶ͘ĐŽŵ                    ŵĂŝů

                                                                                                                 ƚƚŶ͗ĂƌŽŶ:͘dŽůƐŽŶ
                                                                                                                 ϭϵϬϲ:ĞŶŶŝĞ>ĞĞƌ͘
ŽƵŶƐĞůƚŽ/ŶƚĞŐƌĂƌĞ͕/ŶĐ͘                                          dŽůƐŽŶΘtĂǇŵĞŶƚ͕W>>                     /ĚĂŚŽ&ĂůůƐ/ϴϯϰϬϰ                                     Ă ũƚΛĂĂƌŽŶũƚŽůƐŽŶůĂǁ͘ĐŽŵ         ŵĂŝů

                                                                                                                 ƚƚŶ͗^ƚĞƉŚĞŶ͘'ĞƌĂůĚ
ŽƵŶƐĞůƚŽdŚĞ:͘D͘^ŵƵĐŬĞƌŽŵƉĂŶǇĂŶĚŵĂǌŝŶŐKƌŐĂŶŝĐƐ>>ƚͬĂ                                               ϮϬϬŽŶƚŝŶĞŶƚĂůƌŝǀĞ͕^ƵŝƚĞϰϬϭ
ŵĂǌŝŶŐ,ĞƌďƐ                                                         dǇĚŝŶŐƐΘZŽƐĞŶďĞƌŐ>>W                    EĞǁĂƌŬϭϵϳϭϯ                                          Ɛ ŐĞƌĂůĚΛƚǇĚŝŶŐƐ͘ĐŽŵ             ŵĂŝů

                                                                                                                 ƚƚŶ͗ĂǀŝĚ͘tĞŝƐƐΘůůĞŶ^ůŝŐŚƚƐ
                                                                                                                 h͘^͘ƚƚŽƌŶĞǇΖƐKĨĨŝĐĞ
                                                                                                                 ϭϯϭϯEDĂƌŬĞƚ^ƚƌĞĞƚ͕^ƵŝƚĞϰϬϬ
h͘^͘ƚƚŽƌŶĞǇĨŽƌƚŚĞŝƐƚƌŝĐƚŽĨĞůĂǁĂƌĞ                            h͘^͘ƚƚŽƌŶĞǇĨŽƌĞůĂǁĂƌĞ                 tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                                                        &ŝƌƐƚůĂƐƐDĂŝů

                                                                                                                 ^ĞĐƌĞƚĂƌǇŽĨƚŚĞdƌĞĂƐƵƌǇ
                                                                      h͘^͘^ĞĐƵƌŝƚŝĞƐĂŶĚǆĐŚĂŶŐĞŽŵŵŝƐƐŝŽŶͲ ϭϬϬ&͘^ƚƌĞĞƚE
^ĞĐƵƌŝƚŝĞƐĂŶĚǆĐŚĂŶŐĞŽŵŵŝƐƐŝŽŶ                                    ,ĞĂĚƋƵĂƌƚĞƌƐ                               tĂƐŚŝŶŐƚŽŶϮϬϱϰϵ                                      ƐĞĐďĂŶŬƌƵƉƚĐǇΛƐĞĐ͘ŐŽǀ             &ŝƌƐƚůĂƐƐDĂŝůĂŶĚŵĂŝů

                                                                                                                 ƚƚŶ͗'ĞŽĨĨƌĞǇ:͘WĞƚĞƌƐ
                                                                                                                 ϱϰϳϱZŝŶŐƐZŽĂĚ
                                                                                                                 ^ƵŝƚĞϮϬϬ
ŽƵŶƐĞůƚŽ^ĂŶŐĂŵŽŶEŽƌƚŚ>>͕ƚŚĞŽŵŵŽŶƐĂƚ^ŽƵƚŚƉĂƌŬ>>           tĞůƚŵĂŶ͕tĞŝŶďĞƌŐΘZĞŝƐŽ͘>W           ƵďůŝŶK,ϰϯϬϭϳ                                          ďƌŽŶĂƚŝŽŶĂůĞĐĨΛǁĞůƚŵĂŶ͘ĐŽŵ        ŵĂŝů

                                                                                                                 ƚƚŶ͗ŽũĂŶ'ƵǌŝŶĂ
                                                                                                                 ϭϭϭ^͘tĂĐŬĞƌƌ͕͘^ƵŝƚĞϱϭϬϬ
ŽƵŶƐĞůƚŽƚŚĞ^ĞĐŽŶĚ>ŝĞŶ^ĞĐƵƌĞĚWĂƌƚŝĞƐ͖,ŽůĚŽ>ĞŶĚĞƌƐ           tŚŝƚĞΘĂƐĞ>>W                           ŚŝĐĂŐŽ/>ϲϬϲϬϲ                                         ď
                                                                                                                                                                           ŽũĂŶ͘ŐƵǌŝŶĂΛǁŚŝƚĞĐĂƐĞ͘ĐŽŵ       &ŝƌƐƚůĂƐƐDĂŝůĂŶĚŵĂŝů

                                                                                                                                                                          ĐƐŚŽƌĞΛǁŚŝƚĞĐĂƐĞ͘ĐŽŵ
                                                                                                                 ƚƚŶ͗:͘ŚƌŝƐƚŽƉŚĞƌ^ŚŽƌĞ͕^ĂŵƵĞůW͘,ĞƌƐŚĞǇ͕ŶĚƌĞǁ   ƐĂŵ͘ŚĞƌƐŚĞǇΛǁŚŝƚĞĐĂƐĞ͘ĐŽŵ
                                                                                                                 Ăƚǌ͕ƌŝŶ^ŵŝƚŚ͕ƌĞƚƚĂŬĞŵĞǇĞƌ                        ĂǌĂƚǌΛǁŚŝƚĞĐĂƐĞ͘ĐŽŵ
                                                                                                                 ϭϮϮϭǀĞŶƵĞŽĨƚŚĞŵĞƌŝĐĂƐ                              ĞƌŝŶ͘ƐŵŝƚŚΛǁŚŝƚĞĐĂƐĞ͘ĐŽŵ
ŽƵŶƐĞůƚŽĚ,ŽĐ'ƌŽƵƉŽĨ&ƌĞĞĚŽŵ>ĞŶĚĞƌƐ                            tŚŝƚĞΘĂƐĞ>>W                           EĞǁzŽƌŬEzϭϬϬϮϬͲϭϬϵϱ                                   ďƌĞƚƚ͘ďĂŬĞŵĞǇĞƌΛǁŚŝƚĞĐĂƐĞ͘ĐŽŵ     ŵĂŝů

                                                                                                                 ƚƚŶ͗dŚŽŵĂƐ>ĂƵƌŝĂ
ŽƵŶƐĞůƚŽƚŚĞ^ĞĐŽŶĚ>ŝĞŶ^ĞĐƵƌĞĚWĂƌƚŝĞƐ͖,ŽůĚŽ>ĞŶĚĞƌƐ͕Ě,ŽĐ                                              ϮϬϬ^ŽƵƚŚŝƐĐĂǇŶĞŽƵůĞǀĂƌĚ͕^ƵŝƚĞϰϵϬϬ
'ƌŽƵƉŽĨ&ƌĞĞĚŽŵ>ĞŶĚĞƌƐ                                             tŚŝƚĞΘĂƐĞ>>W                           DŝĂŵŝ&>ϯϯϭϯϭ                                           ƚ ůĂƵƌŝĂΛǁŚŝƚĞĐĂƐĞ͘ĐŽŵ           &ŝƌƐƚůĂƐƐDĂŝůĂŶĚŵĂŝů




         /ŶƌĞ͗&ƌĂŶĐŚŝƐĞ'ƌŽƵƉ͕/ŶĐ͕͘ĞƚĂů͘
         ĂƐĞEŽ͘ϮϰͲϭϮϰϴϬ;>^^Ϳ                                                                                      WĂŐĞϭϰŽĨϭϱ
                                                Case 24-12480-LSS                    Doc 1190             Filed 03/27/25             Page 18 of 22
                                                                                               ǆŚŝďŝƚ
                                                                                          ŽƌĞͬϮϬϬϮ^ĞƌǀŝĐĞ>ŝƐƚ
                                                                                         ^ĞƌǀĞĚĂƐƐĞƚĨŽƌƚŚďĞůŽǁ

                                  ^Z/Wd/KE                      ED                                              Z^^                                      D/>     Dd,KK&^Zs/

                                                                                         ƚƚŶ͗ĚŵŽŶ>͘DŽƌƚŽŶ͕DĂƚƚŚĞǁ͘>ƵŶŶ͕ůůŝƐŽŶ^͘
                                                                                         DŝĞůŬĞ͕^ŚĞůůĂŽƌŽǀŝŶƐŬĂǇĂ                           ĞŵŽƌƚŽŶΛǇĐƐƚ͘ĐŽŵ
                                                                                         ZŽĚŶĞǇ^ƋƵĂƌĞ                                         ŵůƵŶŶΛǇĐƐƚ͘ĐŽŵ
                                                                                         ϭϬϬϬE͘<ŝŶŐ^ƚƌĞĞƚ                                   ĂŵŝĞůŬĞΛǇĐƐƚ͘ĐŽŵ
ŽƵŶƐĞůƚŽĞďƚŽƌƐĂŶĚĞďƚŽƌƐ/ŶWŽƐƐĞƐƐŝŽŶ      zŽƵŶŐŽŶĂǁĂǇ^ƚĂƌŐĂƚƚΘdĂǇůŽƌ͕>>W   tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                   ƐďŽƌŽǀŝŶƐŬĂǇĂΛǇĐƐƚ͘ĐŽŵ     ŵĂŝů




         /ŶƌĞ͗&ƌĂŶĐŚŝƐĞ'ƌŽƵƉ͕/ŶĐ͕͘ĞƚĂů͘
         ĂƐĞEŽ͘ϮϰͲϭϮϰϴϬ;>^^Ϳ                                                               WĂŐĞϭϱŽĨϭϱ
Case 24-12480-LSS   Doc 1190   Filed 03/27/25   Page 19 of 22




                        Exhibit B
                                                                         Case 24-12480-LSS                               Doc 1190                    Filed 03/27/25                    Page 20 of 22
                                                                                                                                           ǆŚŝďŝƚ
                                                                                                                                   &ĞĞƉƉůŝĐĂƚŝŽŶ^ĞƌǀŝĐĞ>ŝƐƚ
                                                                                                                                    ^ĞƌǀĞĚĂƐƐĞƚĨŽƌƚŚďĞůŽǁ


                                         ^Z/Wd/KE                                                       ED                                                             Z^^                                                  D/>                Dd,KK&^Zs/
                                                                                                                                    ƚƚŶ͗:ŽƐŚƵĂ͘^ƵƐƐďĞƌŐ͕W͘͕͘EŝĐŽůĞ>͘'ƌĞĞŶďůĂƚƚ͕W͘͕͘ĞƌĞŬ/͘,ƵŶƚĞƌ       ũŽƐŚƵĂ͘ƐƵƐƐďĞƌŐΛŬŝƌŬůĂŶĚ͘ĐŽŵ
                                                                                                                                    ϲϬϭ>ĞǆŝŶŐƚŽŶǀĞŶƵĞ                                                              ŶŝĐŽůĞ͘ŐƌĞĞŶďůĂƚƚΛŬŝƌŬůĂŶĚ͘ĐŽŵ
ŽƵŶƐĞůƚŽĞďƚŽƌƐĂŶĚĞďƚŽƌƐ/ŶWŽƐƐĞƐƐŝŽŶ                                        <ŝƌŬůĂŶĚΘůůŝƐ>>W                            EĞǁzŽƌŬEzϭϬϬϮϮ                                                                 ĚĞƌĞŬ͘ŚƵŶƚĞƌΛŬŝƌŬůĂŶĚ͘ĐŽŵ         ŵĂŝů
                                                                                                                                    ƚƚŶ͗DĂƌŬDĐ<ĂŶĞ͕W͘͘
                                                                                                                                    ϱϱϱĂůŝĨŽƌŶŝĂ^ƚƌĞĞƚ
ŽƵŶƐĞůƚŽĞďƚŽƌƐĂŶĚĞďƚŽƌƐ/ŶWŽƐƐĞƐƐŝŽŶ                                        <ŝƌŬůĂŶĚΘůůŝƐ>>W                            ^ĂŶ&ƌĂŶĐŝƐĐŽϵϰϭϬϭ                                                            ŵĂƌŬ͘ŵĐŬĂŶĞΛŬŝƌŬůĂŶĚ͘ĐŽŵ          ŵĂŝů
                                                                                                                                    ƚƚŶ͗ĚĂŵ'͘>ĂŶĚŝƐ͕DĂƚƚDĐ'ƵŝƌĞ͕ůŝǌĂďĞƚŚZŽŐĞƌƐ
                                                                                                                                    ϵϭϵDĂƌŬĞƚ^ƚƌĞĞƚ^ƵŝƚĞϭϴϬϬ                                                      ůĂŶĚŝƐΛůƌĐůĂǁ͘ĐŽŵ
                                                                                                                                    W͘K͘ŽǆϮϬϴϳ                                                                     ŵĐŐƵŝƌĞΛůƌĐůĂǁ͘ĐŽŵ
ŽƵŶƐĞůƚŽƚŚĞĚ,ŽĐ'ƌŽƵƉŽĨ&ŝƌƐƚ>ŝĞŶ>ĞŶĚĞƌƐĂŶĚ/W>ĞŶĚĞƌƐ                   >ĂŶĚŝƐZĂƚŚΘŽďď>>W                          tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                                               ĞƌŽŐĞƌƐΛůƌĐůĂǁ͘ĐŽŵ                &ŝƌƐƚůĂƐƐDĂŝůĂŶĚŵĂŝů
                                                                                                                                    ƚƚŶ͗:ĞŶŶŝĨĞƌǌƌŝŶŐ͕:ĂŵĞƐ<ƚƐĂŶĞƐ͕ŶĚƌĞǁ^ŽƌŬŝŶ                              :ĞŶŶŝĨĞƌ͘ǌƌŝŶŐΛůǁ͘ĐŽŵ
                                                                                                                                    ϭϮϳϭǀĞŶƵĞŽĨƚŚĞŵĞƌŝĐĂƐ                                                       :ĂŵĞƐ͘<ƚƐĂŶĞƐΛůǁ͘ĐŽŵ
ŽƵŶƐĞůƚŽƚŚĞ>^ĞĐƵƌĞĚWĂƌƚŝĞƐ                                                 >ĂƚŚĂŵΘtĂƚŬŝŶƐ>>W                            EĞǁzŽƌŬEzϭϬϬϮϬ                                                                 ĂŶĚƌĞǁ͘ƐŽƌŬŝŶΛůǁ͘ĐŽŵ              &ŝƌƐƚůĂƐƐDĂŝůĂŶĚŵĂŝů
                                                                                                                                    ƚƚŶ͗dŝŵŽƚŚǇ:͘&Žǆ͕ƐƋ
                                                                                                                                    ϴϰϰ<ŝŶŐ^ƚƌĞĞƚ͕^ƵŝƚĞϮϮϬϳ

                                                                                    KĨĨŝĐĞŽĨƚŚĞhŶŝƚĞĚ^ƚĂƚĞƐdƌƵƐƚĞĞĨŽƌƚŚĞ    >ŽĐŬďŽǆϯϱ
hŶŝƚĞĚ^ƚĂƚĞƐdƌƵƐƚĞĞĨŽƌƚŚĞŝƐƚƌŝĐƚŽĨĞůĂǁĂƌĞ                                  ŝƐƚƌŝĐƚŽĨĞůĂǁĂƌĞ                            tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                                               ƚŝŵŽƚŚǇ͘ĨŽǆΛƵƐĚŽũ͘ŐŽǀ             ŵĂŝů
                                                                                                                                    ƚƚŶ͗ƌĂĚĨŽƌĚ:͘^ĂŶĚůĞƌ͕ŽůŝŶZ͘ZŽďŝŶƐŽŶ
                                                                                                                                    ϵϭϵEŽƌƚŚDĂƌŬĞƚ^ƚƌĞĞƚ͕ϭϳƚŚ&ůŽŽƌ
                                                                                                                                    W͘K͘ŽǆϴϳϬϱ                                                                     ďƐĂŶĚůĞƌΛƉƐǌũůĂǁ͘ĐŽŵ
ŽƵŶƐĞůƚŽƚŚĞKĨĨŝĐŝĂůŽŵŵŝƚƚĞĞŽĨhŶƐĞĐƵƌĞĚƌĞĚŝƚŽƌƐ                            WĂĐŚƵůƐŬŝ^ƚĂŶŐŝĞŚůΘ:ŽŶĞƐ>>W               tŝůŵŝŶŐƚŽŶϭϵϴϵϵͲϴϳϬϱ                                                          ĐƌŽďŝŶƐŽŶΛƉƐǌũůĂǁ͘ĐŽŵ             ŵĂŝů
                                                                                                                                    ƚƚŶ͗ZŽďĞƌƚ:͘&ĞŝŶƐƚĞŝŶ͕ůĂŶ:͘<ŽƌŶĨĞůĚ͕dŚĞŽĚŽƌĞ^͘,ĞĐŬĞů                   ƌĨĞŝŶƐƚĞŝŶΛƉƐǌũůĂǁ͘ĐŽŵ
                                                                                                                                    ϳϴϬdŚŝƌĚǀĞŶƵĞ͕ϯϰƚŚ&ůŽŽƌ                                                      ĂŬŽƌŶĨĞůĚΛƉƐǌũůĂǁ͘ĐŽŵ
ŽƵŶƐĞůƚŽƚŚĞKĨĨŝĐŝĂůŽŵŵŝƚƚĞĞŽĨhŶƐĞĐƵƌĞĚƌĞĚŝƚŽƌƐ                            WĂĐŚƵůƐŬŝ^ƚĂŶŐŝĞŚůΘ:ŽŶĞƐ>>W               EĞǁzŽƌŬEzϭϬϬϭϳ                                                                 ƚŚĞĐŬĞůΛƉƐǌũůĂǁ͘ĐŽŵ               ŵĂŝů

                                                                                                                                                                                                                      ũĂǇŵĞŐŽůĚƐƚĞŝŶΛƉĂƵůŚĂƐƚŝŶŐƐ͘ĐŽŵ
                                                                                                                                    ƚƚŶ͗:ĂǇŵĞ'ŽůĚƐƚĞŝŶ͕:ĞƌĞŵǇǀĂŶƐ͕/ƐĂĂĐ^ĂƐƐŽŶ͕ĂŶŝĞů&ůŝŵĂŶ                  ũĞƌĞŵǇĞǀĂŶƐΛƉĂƵůŚĂƐƚŝŶŐƐ͘ĐŽŵ
                                                                                                                                    ϮϬϬWĂƌŬǀĞŶƵĞ                                                                   ŝƐĂĂĐƐĂƐƐŽŶΛƉĂƵůŚĂƐƚŝŶŐƐ͘ĐŽŵ
ŽƵŶƐĞůƚŽƚŚĞĚ,ŽĐ'ƌŽƵƉŽĨ&ŝƌƐƚ>ŝĞŶ>ĞŶĚĞƌƐĂŶĚ/W>ĞŶĚĞƌƐ                   WĂƵů,ĂƐƚŝŶŐƐ>>W                               EĞǁzŽƌŬEzϭϬϭϲϲ                                                                 ĚĂŶĨůŝŵĂŶΛƉĂƵůŚĂƐƚŝŶŐƐ͘ĐŽŵ        &ŝƌƐƚůĂƐƐDĂŝůĂŶĚŵĂŝů
                                                                                                                                                                                                                      ďĂƚĞŵĂŶΛƐĞǁŬŝƐ͘ĐŽŵ
                                                                                                                                                                                                                      ƉĂƚĞůΛƐĞǁŬŝƐ͘ĐŽŵ
                                                                                                                                    ƚƚŶ͗'ƌĞŐŐĂƚĞŵĂŶ͕^ĂŐĂƌWĂƚĞů͕DŝĐŚĂĞůĂŶĞŶďĞƌŐ͕:ŽŚŶZ͘ƐŚŵĞĂĚ͕'ƌĞŐŐ^͘   ĚĂŶĞŶďĞƌŐΛƐĞǁŬŝƐ͘ĐŽŵ
                                                                                                                                    ĂƚĞŵĂŶ͕ŶĚƌĞǁ:͘DĂƚŽƚƚ                                                         ĂƐŚŵĞĂĚΛƐĞǁŬŝƐ͘ĐŽŵ
ŽƵŶƐĞůƚŽƚŚĞ/WŐĞŶƚ͕tŝůŵŝŶŐƚŽŶdƌƵƐƚ͕EĂƚŝŽŶĂůƐƐŽĐŝĂƚŝŽŶ͕ĂƐWƌĞƉĞƚŝƚŝŽŶ                                                   KŶĞĂƚƚĞƌǇWĂƌŬWůĂǌĂ                                                            ďĂƚĞŵĂŶΛƐĞǁŬŝƐ͘ĐŽŵ
&ŝƌƐƚ>ŝĞŶŐĞŶƚĂŶĚ/WŐĞŶƚ                                                      ^ĞǁĂƌĚΘ<ŝƐƐĞů>>W                             EĞǁzŽƌŬEzϭϬϬϬϰ                                                                 ŵĂƚŽƚƚΛƐĞǁŬŝƐ͘ĐŽŵ                 &ŝƌƐƚůĂƐƐDĂŝůĂŶĚŵĂŝů
                                                                                                                                    ƚƚŶ͗ŽũĂŶ'ƵǌŝŶĂ
                                                                                                                                    ϭϭϭ^͘tĂĐŬĞƌƌ͕͘^ƵŝƚĞϱϭϬϬ
ŽƵŶƐĞůƚŽƚŚĞ^ĞĐŽŶĚ>ŝĞŶ^ĞĐƵƌĞĚWĂƌƚŝĞƐ͖,ŽůĚŽ>ĞŶĚĞƌƐ                         tŚŝƚĞΘĂƐĞ>>W                                ŚŝĐĂŐŽ/>ϲϬϲϬϲ                                                                  ďŽũĂŶ͘ŐƵǌŝŶĂΛǁŚŝƚĞĐĂƐĞ͘ĐŽŵ        &ŝƌƐƚůĂƐƐDĂŝůĂŶĚŵĂŝů
                                                                                                                                    ƚƚŶ͗dŚŽŵĂƐ>ĂƵƌŝĂ
ŽƵŶƐĞůƚŽƚŚĞ^ĞĐŽŶĚ>ŝĞŶ^ĞĐƵƌĞĚWĂƌƚŝĞƐ͖,ŽůĚŽ>ĞŶĚĞƌƐ͕Ě,ŽĐ'ƌŽƵƉŽĨ                                                        ϮϬϬ^ŽƵƚŚŝƐĐĂǇŶĞŽƵůĞǀĂƌĚ͕^ƵŝƚĞϰϵϬϬ
&ƌĞĞĚŽŵ>ĞŶĚĞƌƐ                                                                    tŚŝƚĞΘĂƐĞ>>W                                DŝĂŵŝ&>ϯϯϭϯϭ                                                                    ƚůĂƵƌŝĂΛǁŚŝƚĞĐĂƐĞ͘ĐŽŵ             &ŝƌƐƚůĂƐƐDĂŝůĂŶĚŵĂŝů

                                                                                                                                    ƚƚŶ͗ĚŵŽŶ>͘DŽƌƚŽŶ͕DĂƚƚŚĞǁ͘>ƵŶŶ͕ůůŝƐŽŶ^͘DŝĞůŬĞ͕^ŚĞůůĂŽƌŽǀŝŶƐŬĂǇĂ    ĞŵŽƌƚŽŶΛǇĐƐƚ͘ĐŽŵ
                                                                                                                                    ZŽĚŶĞǇ^ƋƵĂƌĞ                                                                     ŵůƵŶŶΛǇĐƐƚ͘ĐŽŵ
                                                                                                                                    ϭϬϬϬE͘<ŝŶŐ^ƚƌĞĞƚ                                                               ĂŵŝĞůŬĞΛǇĐƐƚ͘ĐŽŵ
ŽƵŶƐĞůƚŽĞďƚŽƌƐĂŶĚĞďƚŽƌƐ/ŶWŽƐƐĞƐƐŝŽŶ                                        zŽƵŶŐŽŶĂǁĂǇ^ƚĂƌŐĂƚƚΘdĂǇůŽƌ͕>>W            tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                                               ƐďŽƌŽǀŝŶƐŬĂǇĂΛǇĐƐƚ͘ĐŽŵ            ŵĂŝů




         /ŶƌĞ͗&ƌĂŶĐŚŝƐĞ'ƌŽƵƉ͕/ŶĐ͕͘ĞƚĂů͘
         ĂƐĞEŽ͘ϮϰͲϭϮϰϴϬ;>^^Ϳ                                                                                                           WĂŐĞϭŽĨϭ
Case 24-12480-LSS   Doc 1190   Filed 03/27/25   Page 21 of 22




                        Exhibit C
                                                                         Case 24-12480-LSS                               Doc 1190                   Filed 03/27/25                    Page 22 of 22
                                                                                                                                         ǆŚŝďŝƚ
                                                                                                                          KƌĚŝŶĂƌǇŽƵƌƐĞWƌŽĨĞƐƐŝŽŶĂůƐ^ĞƌǀŝĐĞ>ŝƐƚ
                                                                                                                                 ^ĞƌǀĞĚĂƐƐĞƚĨŽƌƚŚďĞůŽǁ


                                         ^Z/Wd/KE                                                       ED                                                            Z^^                                                  D/>                Dd,KK&^Zs/
                                                                                                                                   ƚƚŶ͗:ŽƐŚƵĂ͘^ƵƐƐďĞƌŐ͕W͘͕͘EŝĐŽůĞ>͘'ƌĞĞŶďůĂƚƚ͕W͘͕͘ĞƌĞŬ/͘,ƵŶƚĞƌ       ũŽƐŚƵĂ͘ƐƵƐƐďĞƌŐΛŬŝƌŬůĂŶĚ͘ĐŽŵ
                                                                                                                                   ϲϬϭ>ĞǆŝŶŐƚŽŶǀĞŶƵĞ                                                              ŶŝĐŽůĞ͘ŐƌĞĞŶďůĂƚƚΛŬŝƌŬůĂŶĚ͘ĐŽŵ
ŽƵŶƐĞůƚŽĞďƚŽƌƐĂŶĚĞďƚŽƌƐ/ŶWŽƐƐĞƐƐŝŽŶ                                        <ŝƌŬůĂŶĚΘůůŝƐ>>W                           EĞǁzŽƌŬEzϭϬϬϮϮ                                                                 ĚĞƌĞŬ͘ŚƵŶƚĞƌΛŬŝƌŬůĂŶĚ͘ĐŽŵ         ŵĂŝů
                                                                                                                                   ƚƚŶ͗DĂƌŬDĐ<ĂŶĞ͕W͘͘
                                                                                                                                   ϱϱϱĂůŝĨŽƌŶŝĂ^ƚƌĞĞƚ
ŽƵŶƐĞůƚŽĞďƚŽƌƐĂŶĚĞďƚŽƌƐ/ŶWŽƐƐĞƐƐŝŽŶ                                        <ŝƌŬůĂŶĚΘůůŝƐ>>W                           ^ĂŶ&ƌĂŶĐŝƐĐŽϵϰϭϬϭ                                                            ŵĂƌŬ͘ŵĐŬĂŶĞΛŬŝƌŬůĂŶĚ͘ĐŽŵ          ŵĂŝů
                                                                                                                                   ƚƚŶ͗ĚĂŵ'͘>ĂŶĚŝƐ͕DĂƚƚDĐ'ƵŝƌĞ͕ůŝǌĂďĞƚŚZŽŐĞƌƐ
                                                                                                                                   ϵϭϵDĂƌŬĞƚ^ƚƌĞĞƚ^ƵŝƚĞϭϴϬϬ                                                      ůĂŶĚŝƐΛůƌĐůĂǁ͘ĐŽŵ
                                                                                                                                   W͘K͘ŽǆϮϬϴϳ                                                                     ŵĐŐƵŝƌĞΛůƌĐůĂǁ͘ĐŽŵ
ŽƵŶƐĞůƚŽƚŚĞĚ,ŽĐ'ƌŽƵƉŽĨ&ŝƌƐƚ>ŝĞŶ>ĞŶĚĞƌƐĂŶĚ/W>ĞŶĚĞƌƐ                   >ĂŶĚŝƐZĂƚŚΘŽďď>>W                         tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                                               ĞƌŽŐĞƌƐΛůƌĐůĂǁ͘ĐŽŵ                &ŝƌƐƚůĂƐƐDĂŝůĂŶĚŵĂŝů
                                                                                                                                   ƚƚŶ͗ŶĚƌĞǁ^ŽƌŬŝŶ
                                                                                                                                   ϱϱϱůĞǀĞŶƚŚ^ƚƌĞĞƚEt
                                                                                                                                   ^ƵŝƚĞϭϬϬϬ
ŽƵŶƐĞůƚŽ:WDŽƌŐĂŶŚĂƐĞĂŶŬ͕E͘͕͘ĂƐWƌĞƉĞƚŝƚŝŽŶ>ŐĞŶƚ                      >ĂƚŚĂŵΘtĂƚŬŝŶƐ>>W                           tĂƐŚŝŶŐƚŽŶϮϬϬϬϰ                                                               ĂŶĚƌĞǁ͘ƐŽƌŬŝŶΛůǁ͘ĐŽŵ              ŵĂŝů
                                                                                                                                   ƚƚŶ͗:ĂŵĞƐ<ƐƚĂŶĞƐ͕dŝŵŽƚŚǇĞĂƵWĂƌŬĞƌ
                                                                                                                                   ϯϯϬEtĂďĂƐŚǀĞŶƵĞ
                                                                                                                                   ^ƵŝƚĞϮϴϬϬ                                                                        ũĂŵĞƐ͘ŬƚƐĂŶĞƐΛůǁ͘ĐŽŵ
ŽƵŶƐĞůƚŽ:WDŽƌŐĂŶŚĂƐĞĂŶŬ͕E͘͕͘ĂƐWƌĞƉĞƚŝƚŝŽŶ>ŐĞŶƚ                      >ĂƚŚĂŵΘtĂƚŬŝŶƐ>>W                           ŚŝĐĂŐŽ/>ϲϬϲϭϭĂŶĂĚĂ                                                           ďĞĂƵ͘ƉĂƌŬĞƌΛůǁ͘ĐŽŵ               ŵĂŝů
                                                                                                                                   ƚƚŶ͗:ĞŶŶŝĨĞƌǌƌŝŶŐ͕:ĂŵĞƐ<ƚƐĂŶĞƐ͕ŶĚƌĞǁ^ŽƌŬŝŶ                              :ĞŶŶŝĨĞƌ͘ǌƌŝŶŐΛůǁ͘ĐŽŵ
                                                                                                                                   ϭϮϳϭǀĞŶƵĞŽĨƚŚĞŵĞƌŝĐĂƐ                                                       :ĂŵĞƐ͘<ƚƐĂŶĞƐΛůǁ͘ĐŽŵ
ŽƵŶƐĞůƚŽƚŚĞ>^ĞĐƵƌĞĚWĂƌƚŝĞƐ                                                 >ĂƚŚĂŵΘtĂƚŬŝŶƐ>>W                           EĞǁzŽƌŬEzϭϬϬϮϬ                                                                 ĂŶĚƌĞǁ͘ƐŽƌŬŝŶΛůǁ͘ĐŽŵ              &ŝƌƐƚůĂƐƐDĂŝůĂŶĚŵĂŝů
                                                                                                                                   ƚƚŶ͗dŝŵŽƚŚǇ:͘&Žǆ͕ƐƋ
                                                                                                                                   ϴϰϰ<ŝŶŐ^ƚƌĞĞƚ͕^ƵŝƚĞϮϮϬϳ

                                                                                    KĨĨŝĐĞŽĨƚŚĞhŶŝƚĞĚ^ƚĂƚĞƐdƌƵƐƚĞĞĨŽƌƚŚĞ   >ŽĐŬďŽǆϯϱ
hŶŝƚĞĚ^ƚĂƚĞƐdƌƵƐƚĞĞĨŽƌƚŚĞŝƐƚƌŝĐƚŽĨĞůĂǁĂƌĞ                                  ŝƐƚƌŝĐƚŽĨĞůĂǁĂƌĞ                           tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                                               ƚŝŵŽƚŚǇ͘ĨŽǆΛƵƐĚŽũ͘ŐŽǀ             ŵĂŝů
                                                                                                                                   ƚƚŶ͗ƌĂĚĨŽƌĚ:͘^ĂŶĚůĞƌ͕ŽůŝŶZ͘ZŽďŝŶƐŽŶ
                                                                                                                                   ϵϭϵEŽƌƚŚDĂƌŬĞƚ^ƚƌĞĞƚ͕ϭϳƚŚ&ůŽŽƌ
                                                                                                                                   W͘K͘ŽǆϴϳϬϱ                                                                     ďƐĂŶĚůĞƌΛƉƐǌũůĂǁ͘ĐŽŵ
ŽƵŶƐĞůƚŽƚŚĞKĨĨŝĐŝĂůŽŵŵŝƚƚĞĞŽĨhŶƐĞĐƵƌĞĚƌĞĚŝƚŽƌƐ                            WĂĐŚƵůƐŬŝ^ƚĂŶŐŝĞŚůΘ:ŽŶĞƐ>>W              tŝůŵŝŶŐƚŽŶϭϵϴϵϵͲϴϳϬϱ                                                          ĐƌŽďŝŶƐŽŶΛƉƐǌũůĂǁ͘ĐŽŵ             ŵĂŝů
                                                                                                                                   ƚƚŶ͗ZŽďĞƌƚ:͘&ĞŝŶƐƚĞŝŶ͕ůĂŶ:͘<ŽƌŶĨĞůĚ͕dŚĞŽĚŽƌĞ^͘,ĞĐŬĞů                   ƌĨĞŝŶƐƚĞŝŶΛƉƐǌũůĂǁ͘ĐŽŵ
                                                                                                                                   ϳϴϬdŚŝƌĚǀĞŶƵĞ͕ϯϰƚŚ&ůŽŽƌ                                                      ĂŬŽƌŶĨĞůĚΛƉƐǌũůĂǁ͘ĐŽŵ
ŽƵŶƐĞůƚŽƚŚĞKĨĨŝĐŝĂůŽŵŵŝƚƚĞĞŽĨhŶƐĞĐƵƌĞĚƌĞĚŝƚŽƌƐ                            WĂĐŚƵůƐŬŝ^ƚĂŶŐŝĞŚůΘ:ŽŶĞƐ>>W              EĞǁzŽƌŬEzϭϬϬϭϳ                                                                 ƚŚĞĐŬĞůΛƉƐǌũůĂǁ͘ĐŽŵ               ŵĂŝů

                                                                                                                                                                                                                     ũĂǇŵĞŐŽůĚƐƚĞŝŶΛƉĂƵůŚĂƐƚŝŶŐƐ͘ĐŽŵ
                                                                                                                                   ƚƚŶ͗:ĂǇŵĞ'ŽůĚƐƚĞŝŶ͕:ĞƌĞŵǇǀĂŶƐ͕/ƐĂĂĐ^ĂƐƐŽŶ͕ĂŶŝĞů&ůŝŵĂŶ                  ũĞƌĞŵǇĞǀĂŶƐΛƉĂƵůŚĂƐƚŝŶŐƐ͘ĐŽŵ
                                                                                                                                   ϮϬϬWĂƌŬǀĞŶƵĞ                                                                   ŝƐĂĂĐƐĂƐƐŽŶΛƉĂƵůŚĂƐƚŝŶŐƐ͘ĐŽŵ
ŽƵŶƐĞůƚŽƚŚĞĚ,ŽĐ'ƌŽƵƉŽĨ&ŝƌƐƚ>ŝĞŶ>ĞŶĚĞƌƐĂŶĚ/W>ĞŶĚĞƌƐ                   WĂƵů,ĂƐƚŝŶŐƐ>>W                              EĞǁzŽƌŬEzϭϬϭϲϲ                                                                 ĚĂŶĨůŝŵĂŶΛƉĂƵůŚĂƐƚŝŶŐƐ͘ĐŽŵ        &ŝƌƐƚůĂƐƐDĂŝůĂŶĚŵĂŝů
                                                                                                                                                                                                                     ďĂƚĞŵĂŶΛƐĞǁŬŝƐ͘ĐŽŵ
                                                                                                                                                                                                                     ƉĂƚĞůΛƐĞǁŬŝƐ͘ĐŽŵ
                                                                                                                                   ƚƚŶ͗'ƌĞŐŐĂƚĞŵĂŶ͕^ĂŐĂƌWĂƚĞů͕DŝĐŚĂĞůĂŶĞŶďĞƌŐ͕:ŽŚŶZ͘ƐŚŵĞĂĚ͕'ƌĞŐŐ^͘   ĚĂŶĞŶďĞƌŐΛƐĞǁŬŝƐ͘ĐŽŵ
                                                                                                                                   ĂƚĞŵĂŶ͕ŶĚƌĞǁ:͘DĂƚŽƚƚ                                                         ĂƐŚŵĞĂĚΛƐĞǁŬŝƐ͘ĐŽŵ
ŽƵŶƐĞůƚŽƚŚĞ/WŐĞŶƚ͕tŝůŵŝŶŐƚŽŶdƌƵƐƚ͕EĂƚŝŽŶĂůƐƐŽĐŝĂƚŝŽŶ͕ĂƐWƌĞƉĞƚŝƚŝŽŶ                                                  KŶĞĂƚƚĞƌǇWĂƌŬWůĂǌĂ                                                            ďĂƚĞŵĂŶΛƐĞǁŬŝƐ͘ĐŽŵ
&ŝƌƐƚ>ŝĞŶŐĞŶƚĂŶĚ/WŐĞŶƚ                                                      ^ĞǁĂƌĚΘ<ŝƐƐĞů>>W                            EĞǁzŽƌŬEzϭϬϬϬϰ                                                                 ŵĂƚŽƚƚΛƐĞǁŬŝƐ͘ĐŽŵ                 &ŝƌƐƚůĂƐƐDĂŝůĂŶĚŵĂŝů
                                                                                                                                   ƚƚŶ͗ŽũĂŶ'ƵǌŝŶĂ
                                                                                                                                   ϭϭϭ^͘tĂĐŬĞƌƌ͕͘^ƵŝƚĞϱϭϬϬ
ŽƵŶƐĞůƚŽƚŚĞ^ĞĐŽŶĚ>ŝĞŶ^ĞĐƵƌĞĚWĂƌƚŝĞƐ͖,ŽůĚŽ>ĞŶĚĞƌƐ                         tŚŝƚĞΘĂƐĞ>>W                               ŚŝĐĂŐŽ/>ϲϬϲϬϲ                                                                  ďŽũĂŶ͘ŐƵǌŝŶĂΛǁŚŝƚĞĐĂƐĞ͘ĐŽŵ        &ŝƌƐƚůĂƐƐDĂŝůĂŶĚŵĂŝů
                                                                                                                                   ƚƚŶ͗dŚŽŵĂƐ>ĂƵƌŝĂ
ŽƵŶƐĞůƚŽƚŚĞ^ĞĐŽŶĚ>ŝĞŶ^ĞĐƵƌĞĚWĂƌƚŝĞƐ͖,ŽůĚŽ>ĞŶĚĞƌƐ͕Ě,ŽĐ'ƌŽƵƉŽĨ                                                       ϮϬϬ^ŽƵƚŚŝƐĐĂǇŶĞŽƵůĞǀĂƌĚ͕^ƵŝƚĞϰϵϬϬ
&ƌĞĞĚŽŵ>ĞŶĚĞƌƐ                                                                    tŚŝƚĞΘĂƐĞ>>W                               DŝĂŵŝ&>ϯϯϭϯϭ                                                                    ƚůĂƵƌŝĂΛǁŚŝƚĞĐĂƐĞ͘ĐŽŵ             &ŝƌƐƚůĂƐƐDĂŝůĂŶĚŵĂŝů

                                                                                                                                   ƚƚŶ͗ĚŵŽŶ>͘DŽƌƚŽŶ͕DĂƚƚŚĞǁ͘>ƵŶŶ͕ůůŝƐŽŶ^͘DŝĞůŬĞ͕^ŚĞůůĂŽƌŽǀŝŶƐŬĂǇĂ    ĞŵŽƌƚŽŶΛǇĐƐƚ͘ĐŽŵ
                                                                                                                                   ZŽĚŶĞǇ^ƋƵĂƌĞ                                                                     ŵůƵŶŶΛǇĐƐƚ͘ĐŽŵ
                                                                                                                                   ϭϬϬϬE͘<ŝŶŐ^ƚƌĞĞƚ                                                               ĂŵŝĞůŬĞΛǇĐƐƚ͘ĐŽŵ
ŽƵŶƐĞůƚŽĞďƚŽƌƐĂŶĚĞďƚŽƌƐ/ŶWŽƐƐĞƐƐŝŽŶ                                        zŽƵŶŐŽŶĂǁĂǇ^ƚĂƌŐĂƚƚΘdĂǇůŽƌ͕>>W           tŝůŵŝŶŐƚŽŶϭϵϴϬϭ                                                               ƐďŽƌŽǀŝŶƐŬĂǇĂΛǇĐƐƚ͘ĐŽŵ            ŵĂŝů




         /ŶƌĞ͗&ƌĂŶĐŚŝƐĞ'ƌŽƵƉ͕/ŶĐ͕͘ĞƚĂů͘
         ĂƐĞEŽ͘ϮϰͲϭϮϰϴϬ;>^^Ϳ                                                                                                          WĂŐĞϭŽĨϭ
